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                EXHIBIT C
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                             In the Matter Of

                ALONZO D. JONES. SR. VS
                 COUNTY OF YORK. et al




                     ALONZO D. JONES
                             August 14, 2019




I




        Geiger Loria Fillus M'cLucas Reporting LLC
                    2550 Kingston Road, Suite 217
                                      York. PA 17402
                                   York 717.845.6418
                             Harrisburg 717-541 -1508
                                        800.233.9327
                             Scheduling@glfmlIc.com
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              UNITED STATES DISTRICT COURT FOR THE
                 MIDDLE DISTRICT OF PENNSYLVANIA

   ALONZO D. JONES, SR-,
                PLAINTIFF                       NO. 1:19-CV-00229-JEJ
                   VS                           JURY TRIAL DEMANDED
   COUNTY OF YORK, DISTRICT
   ATTORNEY DAVID SUNDAY,
   CHIEF MARK L. BENTZEL, AND
   OFFICER PATRICK GARTRELL,
          JOINT AND SEVERABLE
                DEFENDANTS


         DEPOSITION OF:             ALONZO D. JONES, SR.
         TAKEN BY:                  DEFENDANTS COUNTY OF YORK AND
                                    DISTRICT ATTORNEY DAVID SUNDAY
         BEFORE:                    TRACY L. LLOYD, RPR
                                    NOTARY PUBLIC
         DATE:                      AUGUST 14, 2019, 10:3O A.M.
         PLACE:                     YORK COUNTY BAR ASSOCIATION
                                    137 EAST MARKET STREET
                                    YORK, PENNSYLVANIA




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                                                            Alonzo D. Jones
                                                            August 14, 2019
                                                                 2                                                             4
  1     APPEARANCE                                                    1                STIPULATION
  2         THE LAW OFFICE OF SANDRA THOMPSON
                                                                      2           it is hereby stipulated by and between
            BY. SANDRA I. TH MPSON, ESQUIRE
  3              P.O, BOX -361                                        3 counsel for the respective parties that sealing,
                 351 PRINCESS STREET
                                                                      4 certification and filing are waived, and that oil
  4              YORK, PENNSYLVANIA 17405
                  717 5//-4456                                        5 objections except as to the form of the question are
  5                                                                   6 reserved until the time of trial.
                 POR - PLA1Nf1FF
  6                                                                   7
           SUMMERQ NAC! LAW OFFICES                                   8           ALONZO D, JONES, SR., called as a
           BY: SEAN E. SUM ERS, ESQUIRE
                35 SOUTH DUKE STREET                                  9 witness, being sworn, testified as follows:
  B             YORK PENNSYLVANIA 17401
                                                                      10
                (7171 811 B101
  9                                                                   11                EXAMINATION
                 FJR - DEFENDANTS COUNTY OF XJRK AN- ISTRICT          12
  10                   ATTORNEY DAV D SUNDAI
  11        MARSHALL, DENNEHEY, WARNER, COLEMAN s GOGGIN              13 BY MR. SUMMERS;
            BY. CHRISTOPHER P. B YLE SR. ESQUIRE                      14    Q Good morning, Mr. Jones. We're here again
  12             620 FREEDOM 8UGINESS ENTER
                 SUITE JJO                                            15 for your deposition because we had to cut the last
  13             KING OF PRUSSIA, PENNSYLVANIA 19406                  16 one short. We were here before on July 29th, 2019.
                 (610) 354-8476
  14
                                                                      17         Do you need me to go over the instructions
                 FOR    DEFENDANTS MARK L        BENTZEL AND          18 that I gave you at the beginning of the last
  15                    PATRICK CARTRELL
  16
                                                                      19 deposition? Do you need me to tell you those again?
  17                                                                  20    A    You could, though.
  18
                                                                      21    Q    Okay. So the court reporter is typing up
  19
  40                                                                  22 everything you and I say, so do your best not to talk
  21
                                                                      23 over me, and I II do the same for you because she
  AZ
  45                                                                  24 only has one set of hands and can't type up both of
  24
                                                                      25 us at the same time,
  A5



                                                                  3                                                              5
   1                        TABLE OF CONTENTS                         1        All your responses need to be oral meaning,
   2                             N I r N E s S                        2 for example, yes or no rather than nod of the head
   .1   ALUNZO JONES                               EXAMINATION        3 because there's no video. It's just a typed
   4        BY MR. SUMMERS                             4              4 transcript. Do you understand that?
   5        BY MR   EJXLE                              61             5     A   Yes.
   6        B Y MS . T IOMPSON                                    Q There's water here. A restroom right
                                                                      6
   7    (Trancr pt and errata sheet .end to Ms Thompson for 7 outside. If you need a break for anything Eike that,
          the witness G redd and sign I                     8 please let us know. If you need to talk to your
   8
                                                            9 attorney, just let us know. Adjust ask that you
   9
                                                            10 answer the question that's pending at that time. Do
  10                        E x H 1 B     S
                                                            11 you understand that?
  11    JJNES UEPOSITION EXHIBIT NUMBERS           PACE
                                                            12    A Yes.
  12       » b t 1 Crrplaint
        EMC_                                        1
                                                            13    Q If l'm not speaking loud enough, please ask
  13    Exhibit A   Pdperworll                      II!
                                                            14 me to speak up. If you don't understand my question,
  14
                                                            15 please ask me to rephrase it or just tell me you
  15
                                                            16 don't understand it, and l'lI do my best to
  16
  17
                                                            17 communicate the question. Do you understand that?
  1B
                                                                      18    A    Yes.
  19
                                                                      19    Q    Do you have any questions before we begin?
  *0                                                                  20    A    No, sir.
  21                                                                  21      Q Okay. ldon't want to go over everything we
  22                                                                  22 went over during the last deposition, but do you
  23                                                                  23 still reside at the same place that you did on July
  24                                                                  24 29th, 2019?
  25                                                                  25      A Say that again.



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                                                Alonzo D. Jones
                                                August 14, 2019
                                                         6                                                          8
  1     Q Have you changed your -- where you live             1 racist is a very serious allegation?
  2 since we were here last?                                  2            MS. THOMPSON. Objection.
  3     A oh, no sir.                                         3     A     just don't understand what you mean.
  4     Q Have you -- if l recall, you were not               4 Thatls all.
   5 working at the time. Are you still unemployed?           5 BY MR. SUMMERS:
   6    A Yes, sir.                                           6     Q Would you agree if you, for example, alleged
   7    Q Okay. Do you still live with your                   7 someone was a racist, that would be a very serious
   B girlfriend?                                              8 allegation, wouldn't it?
   9    A No sir.                                             9            MS. THOMPSON: Object to the form of
  10     Q Okay. Remind me, did you live with your           '10 the question.
  11 girlfriend at the last deposition?                      11     A I still don't understand what you're trying
  12     A Say that again. The last deposition?              12 to get at. I don'i understand what you mean.
  13     Q On July 29th, 2019, the dale we were here         13             (Jones Deposition Exhibit '1 was marked
  14 the last time.                                          14 for identification )
  15     A Yes.                                              15 BY MR. SUMMERS:
  16     Q Strike that. Who do you live with?                16      Q Let's look at some of the language in your
  17     A I live at my dad's house, 1026.                   17 complaint. First of all, have you seen that document
  18     Q By yourself?                                      18 marked as Exhibit Number 1 before?
  19     A No. My sister lives there with me.                19      A Yes.
  20     Q Okay. All right. Just as a reminder and           20      Q Okay. Let's look at Paragraph 8, please.
  21 you'll --just so you understand where a lot of my       21 That refers to what's called Defendant David Sunday.
  22 questions are coming from, l represent the County of    22 Do you see that?
  23 York and District Attorney David Sunday. All right.     23      A Yes.
  24         Do you understand that you filed a lawsuit      24      Q I believe we discussed before that you don't
  25 against them, correct?                                  25 know who David Sunday is, do you?


                                                       7                                                            9
  1     A Yes.                                                1    A No, I do not.
  2     Q Okay. Do you understand you filed a federal         2     Q And it references that he's a Caucasian
  3 lawsuit meaning in federal court?                        3 male. You don't know that one way or the other, do
  4     A Yes.                                               4 you?
  5     Q And just in general do you understand that          5     A No.
  6 you have alleged that they are racist?                    6    Q Ail right. Further on in that same
  7     A Say that again.                                    7 Paragraph B it says as such, District Attorney Sunday
  8     Q in general do you understand that you have          8 manages, directs, controls, creates, implements
  9 alleged that District Attorney David Sunday is            9 policies, supervision, training, and discipline for
  10 racist?                                                 10 its officers and employees including NYCRPD and the
  11     A That I Nave alleged that he is racist?            11 York County Drug Task Force which is a special
  12     Q Yes.                                              12 prosecution unit of the York District Attorney's
  13           MS. THOMPSON: Object to the form              13 Office, and it goes on to give its address. Did you
  14 question.                                               14 follow along with me?
  15     A I don't understand.                               15     A Yes.
  16 BY MR. SUMMERS!                                         16     Q Would you agree that you personally do not
  17     Q Let's look at the complaint. Before we get        17 know what District Attorney David Sunday manages?
  18 into the complaint, would you agree that alleging       18             MS. THOMPSON: Objection to the form
  19 someone is racist is a very serious allegation?         19 of the question.
  20           MS. THOMPSON: I object to the form of         20 BY MR. SUMMERSz
  21 the question .                                          21      Q You can answer.
  22 BY MR. SUMMERS:                                         22     A I don't know what you mean by that.
  23     Q You can answer.                                   23     Q What does District Attorney's David Sunday
  24     A I don't understand what you mean.                 24 manage?
  25     Q Would you agree that alleging someone is a        25     A l don't know.


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                                                 Alonzo D. Jones
                                                 August 14, 2019
                                                         10                                                             12
  1     Q What does he direct?                                1     Q  If you believe he trains officers, what
  2     A It says controls, creates, and implements           2 officers?
  3 policies, supervision, training.                          3      A I don't know, sir. I wouldn't be able to
  4     Q We're going to get into all those in a              4 tell you that.
  5 second, but right now l'm just focusing on the word       5     Q   Do you know what employees?
  8 that you put in your complaint saying directs. What       6     A  No, sir.
  7 does he direct?                                           7    Q I believe if it doesn't say, NYCRPD refers
  8            MS. THOMPSON: Objection to the form            8 to Northern Regional Police Department.
  9 of the question.                                           9            MS. THOMPSON: l'm going to object to
  10 BY MR. SUMMERS;                                          10 the form of the question. If you look at Paragraph
  11     Q You can answer.                                    11 7, it does say,
  12     A I don't understand. You said direct. l             12             MR. SUMMERS: loan ask the question,
  13 don't understand what you mean by that.                  13 but! didn't think there was a dispute. l was just
  14     Q Sir, it's your allegations. l'm just asking        14 trying to make it easier on him.
  15 you to elaborate.                                        15 BY MR. SUMMERS:
  16     A What does he direct?                               16     Q Sir, who is NYCRPD?
  17     Q Yes.                                               17     A I don't know, sir. l'd be lying if I told
  18     A I don't know what he directs.                      18 you. I don't know.
  19     Q What does he control?                              19             MS. THOMPSON: Same objection that
  20            MS. THOMPSON: And l'm just also going         20 this line of questioning IS just an effort. It's not
  21 to object that the question is only designed for         21 probative. It's just for embarrassment and
  22 embarrassment of the Plaintiff. Counsel knows that       22 harassment.
  23 these complaints are written up by legalese through      23             MR, SUMMERS: l'mjustasking him
  24 the attorneys.                                           24 questions on the allegations in his complaint.
  25            So for counsel to focus on a term and         25 BY MR. SUMMERS:


                                                        11                                                           13
  1 the meaning of a word like direct is only for the         1    Q Sir, can you flip to Paragraph 16 of your
  2 purpose of harassment and embarrassment of the             2 complaint. Just read it to yourself and let me know
  3 Plaintiff, of his education level and ability to          3 when you're done. Did you get a chance to read that?
  4 understand words written by his attorney.                  4   A Yes, sir.
  5             MR. SUMMERS: To be clear, that's not           5   Q And you understand you are the Plaintiff?
   6 a basis for an objection, and it never crossed my         6   A Yes.
  7 mind that he would not understand what the word            7   Q Is that statement, in fact, true?
  8 directs or controls means, so.                             8   A Yes.
  9 BY MR SUMMERS1                                             9   Q Okay. Can you flip to Paragraph 22, please?
  10     Q What does District Attorney David Sunday           10 Tell me in your own words what happened on February
  11 control?                                                 11 ash, 2017.
  12     A I don't know, sir.                                 12    A Well I was arrested.
  13     Q Do you know what he creates?                       13    Q Okay. Anything else?
  14     A No, sir.                                           14    A l was taken lo -- I guess it's like a
  15     Q Do you know what policies he implements?           '15 station down here on Philadelphia Street.
  16     A No, sir.                                           15    Q A holding cell or something like that?
  17     Q Do you know who he supervises?                     17    A It wasn't a holding cell. lt was like in a
  18     A No, sir.                                           18 basement. Like you went downstairs, and they held me
  19     Q Do you know who he trains?                         19 there.
  20     A I don't know who he trains, but from reading       20    Q So they took you to --
  21 stuff what you have here, it says officers and           21    A On that day
  22 employees.                                               22    Q They took you to the police station?
  23     Q To be clear, I don't have that there. You          23    A Basically.
  24 have that there.                                         24    Q So they arrested you and took you to the
  25     A Oh. Officers and employees. lt says that.          25 police station?



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                                                   Alonzo D. Jones
                                                   August 14, 2019
                                                       14                                                              16
   1           MS. THOMPSON. Objection to the form              1     A It says they accused first African --
  2 of the question.                                            2     Q Right now all I want you to do is read it to
  3 BY MR. SUMMERS:                                             3 yourself and let me know when you're done reading.
   4    Q What else did they do?                                4     A l read 24.
   5    A Asked questions.                                       5    Q Now, and please don't take offense to this,
   6    Q Okay.                                                  6 but your attorney suggested that I was asking
   7    A I don'l know.                                          7 questions maybe that you didn't understand. Can you
  8     Q So they arrested you and took you to the              8 read?
  9 police station and asked you questions. What else?          9     A I can read pretty well
  10           MS. THOMPSON: Objection to the form              10     Q Okay. If at any point in time l'm asking
  11 of the question.                                           11 you to read something and either you can't read it or
  12     A Basically just asked me questions about what         12 you don't understand it, will you please tell me?
  13 they thought was going on that day.                        13     A Yes. l'll do that.
  14 BY MR. SUMMERS:                                            t4     Q Did you read Paragraph 24?
  15     Q Okay. What did District Attorney David               15     A Yes
  16 Sunday have to do with arresting you, if you know?         16     Q Okay. Now, it refers to three individuals
  17     A I don't know who he is, so I couldn't                17 in the York County Drug Task there, so it says
  18 explain that to you .                                      18 Defendant District Attorney, which is who I
  19     Q Was he present at the police station on or           19 represent, District Attorney David Sunday, Chief
  20 around February 8th, 2017?                                 20 Bentzel, Officer Gartretl, and the Drug Task Force.
  21     A l'm not sure                                         21 Do you see what l'm referring to there?
  22     Q Did he participate in the questioning of you         22     A I see what you re speaking on.
  23 on or about February 8th, 2017?                            23     Q Now, again, l'm focusing on District
  24     A l'm not sure either.                                 24 Attorney David Sunday. What did District Attorney
  25     Q So can you read the entire paragraph to              25 Sunday fail to fully investigate?


                                                           15                                                           17
  1 yourself, but part of it says Officer Gartrell filed        1    A I don't understand what you're talking
  2 a written complaint. If you need to read the whole          2 about, sir.
  3 thing, go ahead, but my question is simply what role,       3    Q If you look at the paragraph -- I'II read
  4 if any, did District Attorney David Sunday have to do 4 it, and I I! stop where l'm asking the question. It
  5 with filing a written complaint?                      5 says Defendants District Attorney, Chief BenUel,
  6     A Say that again for me. I'm sorry.               6 Officer Gartrell, and YCDTF failed to fully
  7     Q Sure. If you look at the -- it's actually       7 investigate.
  B the first sentence, but the part that I'm focusing on 8         And my question is really what did David
  9 it says Officer Gartrell filed a written complaint.   9 Sunday fail to fully investigate, if anything?
  10 Do you see that?                                           10   A     I don't know, sir. I won't be able to tell
  11    A Okay, Right here. I see it.                           18 you.
  12    Q And simply Adjust want to know what role              12   Q     Then it goes on to say or other viable
  13 District Attorney David Sunday played in filing the        13 suspects. What other suspects are you referring to
  14 complaint, if anything?                                    14 there, if you know?
  15    A I don't know, sir.                                    15    A    I don't know, sir.
  16    Q Flip to Paragraph 23, please. Can you just            16    Q    Then it goes on to say and instead accused
  17 read that to yourself.                                     17 the first African-American male they saw in the area.
  18    A Yes, 23. I see it.                                    18 First, did you follow along with me?
  19    Q Did you read that?                                    19     A Yes.
  20    A Yes.                                                  20     Q How do you know you were the first
  21    Q is that true?                                         21 African-American male they saw in the area?
  22    A Yes.                                                  22     A I can't say I was the first person they saw,
  23    Q Okay. Can you look at Paragraph 24, please?           23 but -- hold on one second. Can 1 ask you something?
  24    A Say that again, though.                               24     Q No. You answer the question, and then you
  25    Q Read Paragraph 24 to yourself.                        25 talk to your attorney.



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                                                    Alonzo D. Jones
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                                                           18                                                         20
  1           MS. THOMPSON: He actually did answer.             1 there. Something about me meeting with a plaintiff.
  2 He said he can't say he's the first person they saw,        2 I was the only person there. How could I be meeting
  3 so he actually did answer. So now he's asking for           3 with anybody?
  4 consultation with his attorney.                             4     Q Let's break this down a little bit. just
  5 BY MR. SUMMERS:                                             5 want to make sure we're on the same page. Do you
  6    Q Is that your answer, sir? You don't know?              6 know, if any, role District Attorney David Sunday had
  7    A Yes.                                                   7 related to applying for a search warrant?
  8         MR. SUMMERS: Okay. All right. Go                    8    A    No, I don't, sir.
  9 ahead.                                                      9    Q    That same paragraph refers to falsifying an
  10          MS. THOMPSON: Okay, Slap out.                     10 affidavit. Do you know ~~ first of all, are you
  11         (Recess taken from 10:20 a.m. until                11 alleging that District Attorney David Sunday had any
  12 10:24 am.)                                                 12 role in falsifying an affidavit?
  13 BY MR. SUMMERS;                                       13     A I know, sir, that things were said about me
  14    Q Ready, Mr. Jones?                                14 that weren't true. And when we got down to that
  15    A Yes, sir                                         15 spot, like l said I was searched and everything, l
  16    Q Did you have adequate time to talk to your       16 didn't have anything again. He said I see you
  17 counsel?                                              17 moving, do you have anything in your buttocks. And
  18     A Yes sir.                                        18 l'm like what are you talking about, sir.
  19     Q Going back to Paragraph 24 where you allege, 19             l'm sitting there uncomfortable with
  20 among other things, that you were the first           20 handcuffs behind my back that are real close and I
  21 African-American male they saw in the area, was there 21 got short arms. They're tight. lt hurts. He said
  22 anyone else at all in the area?                       22 well I think you got something in your buttocks.
  23     A I couldn"t verify, sir, that. When they         23 The officer thats down there, I don't know if it's
  24 seen me, I was almost ran into a wall. W hy? l        24 the same exact officer here, I'm not sure but he
  25 didn'i know, and l kind of got out of the way. Then   25 asked me to pull my pants down, and I did exactly


                                                           19                                                            24
  1 when they told me they were police, when I got a     1 what t¥1ey told me to do. Proceeded. I bent over so
  2 distance from them and I asked them, what's this all 2 on and so forth. I don't have anything, sir.
  3 about.                                               3        Now what is this all pertaining to, and I
  4     Q Okay. And I recall you telling us that the     4 kept asking him the same question. We still think
  5 first day we were here, but I guess just in general  5 you have something, sir, but I don't. That's what I
  6 other than you and the police, was there anyone else 6 told him,
  7 in the area?                                         7     Q And those people that you were just
  8     A    Not that I seen.                                   8 referring to In your discussion, those were the
  9     Q    Okay. Read Paragraph 25 to yourself,               9 police officers, correct?
  10 please. Did you get a chance to read that?                 10    A    Yes.
  11    A    Yes, sir.                                          11    Q      And this gentleman down to my right, your
  12    Q    It starts out by saying Officer Gartrell           12 left, l'm sure he's going to have a ton of questions
  13 with the approval and direction of District Attorney       13 about your interaction with those police officers,
  14 Sunday. Do you know what, if anything, District            14 but I represent District Attorney David Sunday. So
  15 Attorney Sunday approved?                                  15 that's why I'm trying to focus on him.
  16    A    No, I don't.                                       16    A    Okay.
  17    Q   Do you know what, if anything, District             17    Q   Do you know what role, if any, he had
  18 Attorney Sunday directed?                                  18 regarding falsifying an affidavit as you allege in
  19    A    No, sir.                                           19 Paragraph 25 of your complaint?
  20    Q    And the sentence goes on to talk about a           20    A    Do I know of anything he had falsify -. say
  21 search warrant. Do you know what, if any, role       21 that again. Falsify?
  22 District Attorney David Sunday had in applying for a 22     Q So David Sunday, that's all l'm asking about
  23 search warrant?                                      23 right now. Do you know what role he had in
  24    A Not thatl know of, sir, He was, I guess,        24 falsifying the affidavit as you allege in Paragraph
  25 basically sent to me for whatever purpose that says  25 25 of your complaint?



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                                                          22
  1     A I don't have any knowledge of whether he was         1 towards the end of Paragraph 2a. It alleges that 24
  2 the person who falsified it in general. But when I         2 there's a loss of employment. You didn't lose any
  3 was arrested at that location, 3 was, like they said,      3 employment because of this arrest, did you?
  4 free of any drugs or contraband, and I was the only        4     A Yes, sir. I was told from my Social
  5 person walking through the alleyway at that time.          5 Security that we see you have a case pending over
  6         When we got down to the station, like I said       B your head and I asked them well, what do you mean,
   7 before, they asked me to pull my pants down and so on      7 and they said we see you have a case pending over
   8 and so forth. I did that, and I didn't have anything       8 your head of some charge. And l'm like well. They
  9 again. I was asked to get my stuff and go to the           9 said thats going to like put a hold on your Social    I
                                                                                                                       I
                                                                                                                       I
  10 York Hospital or whatever, and they're going to           10 Security basically.
  11 search me or something. They don't believe what I         11     Q Your Social Security Disability?
  12 was telling them.                                         12     A Yes, sir.
  13     Q And that was all by police officers; right?         13     Q Okay.
  14     A Yes. They said we don't believe nothing             14     A You know what I mean?
  15 you're saying. We re going to take you to York            15     Q So the loss of employment that you refer to
  16 Hospital and get you searched.                            16 in Paragraph 28 refers to your Social Security
  17     Q All right. And I'm not trying to trick you.         17 Disability?
  18 I think your answer is l don't know, but I need you       18    A    Yes.
  19 to say it. If you have a different answer, let us         19    Q    Okay. And then it also says the inability
  2 0 k no w.                                                  20 to gain employment. What does that refer to?
  21         Do you know what role, if any, District           21    A    To be able to get a job.                     II
                                                                                                                        I
  22 Attorney David Sunday had in falsifying the affidavit 22    Q Okay. If I understood you from your first            il
                                                                                                                       !
  23 as you allege in Paragraph 25?                        23 day in here, you have some medical condition that          i
                                                                                                                        I
                                                                                                                        I
  24    A Falsify? I don't know whether he has             24 prevents you from getting a job; correct?
  25 anything to do with the falsifying. But if he had         25    A    Yes.


                                                         23                                                       25
  1 played a role with those officers that were there     1     Q And that's completely unrelated to what
  2 that day, then more likely what they did was take me  2 we're here for, correct?
  3 into custody for something that I didn't have.        3     A Well, we re not here for me getllng a job,
  4 That's all I can get out of this what you're trying   4     Q Well, actually you did allege that, so maybe
  5 to get.                                               5 it was just extra language in there you didn't really
  6     Q Do you have any personal knowledge that he      6 mean, so that's why I'm trying to flush this out.
  7 played a role in preparing the affidavit?             7 Your inability to get a job relates to your Seizures,
  8     A Like whether l know him? No, sir I don't        8 correct?
  9 know him,                                             9      A Yes, sir.
  10            MS. THOMPSON: Object to the form of       10     Q And that was way before this arrest,
  11 the question.                                        11 correct?
  12     A I don't know. I don't know what you're         12     A Yes.
  1:3 saying, sir, seriously, if he has any role in that. 13     Q Okay. So there's no -- this arrest didn't
  14 BY MR. SUMMERS:                                      14 cause you to not be able to get a job, did it?
  15     Q I'm just trying to flush out your              15     A I say it caused me to not get my benefits
  16 allegations. So if you don't know, you're allowed to 16 for my Social Security.
  17 say I don't know.                                    17     Q Right. And that's it?
  18     A Then I don't know, sir. I don't.               18     A l receive Social Security benefits.
  19     Q Let's look at Paragraph 28. Did you get a      19     Q Right. l just want to make sure we're not
  20 chance to read that to yourself?                     20 referring to anything else because it says loss of
  21     A Mm-hmm.                                        21 employment and the inability to gain employment, so
  22     Q Don't forget you have to say yes or no.        22 all that refers to your Social Security Disability,
  23     A Yes, sir. I'm sorry.                           23 correct?
  24     Q That's okay. W e went over your medical        24     A My Social Security, yes, sir,
  25 history the first day, so 1 want to kind of flip to  25     Q Okay. All right. Then it says loss of



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     1 reputation. What does that mean?                             1 like a phone you could buy and put minutes on.
     2     A   Well --                                              2    Q Like a flip phone?
     3           MS. THOMPSON: Objection to the form                3    A No. It was a fiat screen, but you could buy
     4 of the question.                                             4 minutes and put it on it. Like a prepaid phone.
     5 BY MR. SUMMERS;                                              5    Q Okay. How much does something like that
      8    Q You can answer.                                        6 cost?
     7     A My loss of reputation to me that only mean             7    A Probably 40 bucks.
     B my presence out in the streets,                              B    Q Okay. Any other property you can think of
     9     Q Your friends out in the streets?                       9 that you lost other than your $13 and your phone?
     10     A My presence. l'm sorry.                              10     A Well, as far as like being my manhood in
     11     Q Your presence?                                       11 general. I mean that was just like -- like what I
     12     A Yeah, like seeing me, basically being able           '12 went for before I got put into York County Prison was
     13 to see me out in the streets.                              13 terrible. That's all.
     14    Q During the time period when you were                  14    Q Okay. ljustwanttotalk about property
     15 incarcerated?                                              15 right now.
     16    A Yes.                                                  16    A Well, other than that, like my -- other than
     17    Q And remind me again what period was that?             17 that, thal's the only properly.
     18    A February Bth, 2017, I got arrested.                   18   Q Okay. And when you say your manhood, what
     19    Q And how long were you incarcerated?                   19 does that mean?
     20    A For say a month and a half.                           20    A As far as being a man what they put me
     21    Q Okay. So something must lead you to believe           21 through.
     22 people knew you weren't present on the streets, is         22    Q And what did they put you through?
     23 that correct?                                              23    A Well searching me several times and
     24    A    Well, a lot of my family knew I wasn't             24 there s nothing to be found. And then you take me to
     25 present. They didn't see me.                               25 York Hospital and you strip search me in front of two


                                                                                                                               29
     1    Q Okay. And did they learn where you were? 27            1 police officers watching me. Thatls very
     2    A For a minute they didn't until l got out.              2 disrespeciiul on my behalf.
     3 Nobody knew where I was at until I got out of prison.       3     Q Was there anyone there other than the police
     4     Q It sounds like you were incarcerated for              4 officers and the medical people?
     5 about six weeks, correct?                                   5     A The doctor himself that did the procedure,
     6     A Yeah, so all together six weeks.                       6    Q Okay. So the police officers and the
      7    Q Was that at York County Prison?                       7 doctor, correct?
     8     A Yes, sir.                                             8     A Yes, sir.
      9    Q Were you able to call people?                         9     Q Anyone else?
     10     A Yes. I made calls to get out.                        10     A That's it, sir.
     11     Q Did you tell your family where you were?             11     Q Okay. Are you aware of any facts that lead
     12     A Yes, my mother.                                      12 you to conclude that District Attorney David Sunday
     13     Q All right. So other than the fact that some          13 participated in the search that you just described?
     14 of your friends may not have known where you were,         14           MS, THOMPSON: Objection to the form
     15 was there any other loss of reputation?                    15 of the question.                                                  I
     16     A No, sir.                                             16   A l don't know, sir, I don't know.
                                                                                                                                        1
     17     Q It says loss of property. what type of               17 BY MR. SUMMERS:
     18 property did you lose?                                     18    Q So are you aware of any facts, is the answer
     19      A My phone, a couple dollars l had. l had $13         19 I don't know?
     20 in my pocket, I never seen that back. Like that.           20    A I don't know.
     21 That's about it. My phone and a couple bucks that l        21    Q Can you read Paragraph 31 to yourself,
     22 had in my pocket, 13 bucks I had in my pocket.             22 please.
     23      Q What type of phone was it?                          23    A Okay. l read it.
     24      A I think it was a disposable at the time.            24     Q   Okay. Do you believe that to be true?
     25 it's been a minute since l had it. lthink it was           25     A   Not because of my race.


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       1    Q    Okay. Why do you believe that the -- what 30      1     Q Okay. But you told me there was a
      2 was the reason if it wasn't your race?                      2 misunderstanding, so that was the purpose of my
      3     A A misunderstanding Is what I looked at it            3 follow-up question.
       4 as                                                         4    A Yes.
       5    Q Anything else other than a misunderstanding?          5    Q Is it your testimony that there was a
       6    A A misunderstanding is ail I know,                     6 misunderstanding because they essentially got the
       7    Q Okay. When you say misunderstanding, what            1 wrong guy?
      8 does that mean?                                             8    A No, That's what I looked at it as. That's
       9    A Of identity of a person they were really              9 how I looked at it.
i
      10 looking for. Were they looking for me or were they        10     Q And I assume you're going to say I don't
      11 looking for somebody else?                                11 know, so l'm not trying to trick you, but do you know
      12     Q Okay. And you say that because you say you          12 what guy you thought that they should have got?
      13 weren't guilty of the charges; correct?                   13     A No, I don't
      14     A Yes, plus I wasn't -- I didn't have any             14     Q All right. Paragraph 32, just read that to
      15 drugs on me l dldn't have drugs. To quote                 15 yourself.
      16 unquote what they were stating I didn't have drugs        16     A Can I ask you a question?
      17 for none of that stuff, so I was Ile -- it's Ile          17     Q Sure.
      18 weird basically.                                          18     A When they say each Defendants actions who
      19     Q All right. So this other person who you             19 are they specifying'?
      20 believe was responsible, you don't know who that          20     Q I thought I said 32, but just read 32 to
      21 person is, do you?                                        21 yourself.
      22            MS. THOMPSOn Objection to the form             22     A Adjust read 32.
      23 of the question. Calls for speculation.                   23     Q Okay. Have we discussed all the
      24 BY MR SUMMERS:                                            24 humiliation, harassment, and disparagement that you
      25     Q Did you understand my question?                     25 suffered?


                                                              31                                                          33
        1    A Say that again, sir.                                1     A Have we discussed it?
        2    Q Sure. You told me you thought it was a               2    Q Yes. I don't want to go over things. I
       3 misunderstanding. It must have been someone else.         3 don't want to repeat things so that's why l'm asking.
       4 Is that what you said? Because it wasn't you; right?      4 If we already discussed it, l'm not going to ask you
       5     A     just said it must've been a                     5 any more questions.
        6 misunderstanding because I wasn't there for what they     6            MS. THOMPSON: Objection to the form
       7 were stating.                                             7 of the question.
       8     Q Okay.                                                8 BY MR SUMMERSz
       9     A I was headed Io a friend's house basically,          9    Q If we haven't discussed it, I want to know
       10 and I almost got ran over into a wall.                   10 what you're going to say.
       11     Q All right. So is it your testimony that you        11             MS. THOMPSON: Same objection
       12 believe there was a misunderstanding that they           12     A Well l'm not too sure what you're trying to
       13 confused you with someone else?                          13 get at, so I prefer not to answer that like that
       14     A That was --                                        14 right now. I don't know what you're trying to say.
       15            MS. THOMPSON: Objection to the form           15 BY MR. SUMMERS:
       16 of the question.                                         16     Q Paragraph 32 you allege Plaintiff suffered
       17 BY MR. SUMMERS:                                          17 humiliation, You talked about your manhood.
       18     Q You can answer. As a reminder, you're              18     A Yes.
       19 allowed to say I don't know if that's the truthful       19     Q But is there anything else that relates to
       20 answer.                                                  20 this humiliation allegation?
       21     A Well, say that again what you just said.           21     A Yes sir. l was placed through a CAT scan,
       22     Q Well, the instruction I gave you was you are       22 and my medical records in York Hospital verify that
       23 allowed to say I don't know if that is a truthful        23 Mr. Jones cannot go through a CAT scan or MRI for my
       24 answer.                                                  24 head or for my neck down I can go. From my head down
       25     A Yes.                                               25 I cannot. They put me through the same machine that



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   1 I wasn't supposed to go through, so that might cause 1          to be high, could've had a stroke or a heart attack.
  2 more problems for me l would say. l'm having more              2     Q I didn't catch that. can you speak up a
  3 morning sicknesses from that,                                 3 little bit. You're very soft spoken.
  4     Q I didn'f hear you.                                      4      A l'm sorry. I said beings that I was there,
  5     A Morning sicknesses ,                                    5 too, that night and I dldn't have my medication, my
  6     Q Morning sickness?                                        6 blood pressure was high. I could've had a stroke or
  7     A Yes.                                                    7 a heart attack, so I mean other than that pain and
  8     Q Anything else that relates to humiliation?               8 suffering.
  9     A And it's been like brought down to the                   9     Q Have we covered everything?
  10 lowest form of a person watching me being stripped           10      A Most of it, yes.
  11 search, It was very disgusting.                              11      Q What part didn't we cover?
  12    Q Anything else?                                          12      A Basically any other questions that you may
  13    A I was roughed a little bit. Had ah abrasion             13 have to ask me,
  14 on my lip and placed in York County Prison for what          14      Q Well, I'm reailyjust focusing on the
  15 reason they still didn't even know.                          15 humiliation, harassment, and disparagement. If we
  16    Q Anything else?                                          16 covered everything, that's fine. We'll move on. But
  t7     A Loss of time sitting in York County Prison.            17 if we haven't, I want to know what it is.
  18     Q Anything else?                                         18      A Beings having more morning sicknesses and
  19     A A loss of my Social Security which I stated .          19 all that, yes I basically said everything.
  20     Q Anything else?                                         20      Q Okay. All right. Thank you. Can you read
  21    A And falsely being accused.                              21 Paragraph 34 to yourself, please.
  22    Q Say that again.                                         22      A Yes. I would agree with that
  23     A Falsely being accused,                                 23      Q Okay. Paragraph 34, what do you believe you
  24     Q Anything else?                                         24 were denied because of your race?
  25     A That's probably it that I can think of.                25      A Well, my rights In general, you know what I


                                                         35                                                                 37
   1     Q And then for harassment, is there anything             1 mean? If you sit there and just look at me and judge
   2 in addition to what we've already discussed?                 2 me because you think I look like a bad person or so
    3    A I don't understand what you mean                       3 on and so forth.
   4     Q It says Plaintiff suffered humiliation,                4     Q Who judged you because, as you say, you Eook
   5 harassment. So we've talked about humiliation. Now           5 like a bad person?
    6 we're moving on to harassment. Is there anything            8     A Well the people that quote, unquote, stated
    7 additional?                                                 7 they had me under surveillance, you know what I mean,
    8          MS. THOMPSON' Object to the form of                8 which is a bunch of nonsense. And then them stating
    9 the question.                                               9 that 1 was supposed to meet somebody which was a
   10 BY MR. SUMMERS:                                             40 bunch of nonsense because there was nobody there with
   11     Q Anything we haven't discussed yet?                    11 me in the alleyway
   12     A l'm not sure, sir. l'm not sure.                      12        And what happened along the way of, you know
   13     Q And disparagement, is there anything we               13 what I mean, going through this whole process. It
   14 haven't discussed yet?                                      14 took a whole year and a half just to verify that
   15     A Well, there's still some things we did not            15 everything they put down in black and white was
   16 discuss.                                                    16 basically a lie.
   17     Q Well, related to your humiliation,                    17     Q Okay. And I understand your general
   18 harassment or disparagement, what didn't we discuss?        18 allegations. What l'm asking you is what did they do
   19     A Basically being falsely accused.                      19 because of your race?
   20     Q Okay. Anything else?                                  20           MS. THOMPSON: Objection to the form
   21     A Strip searched several times and still being          21 of the question. Asked and answered.
   22 falsely accused. Placed through a CAT scan but still        22     A Beings I don't understand fully what you
   23 falsely accused Placed in York County Prison, still         23 mean, l don'twant to answer that because 1 don't
   24 falsely accused. I had to slay in there that day            24 want to say nothing too wrong.
   25 without my medication which caused my blood pressure        25 BY MR. SUMMERS:


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       1     Q Let me ask this a different way. You I             1         My question is what training did District
       2 thought said that they treated you different because      2 Attorney David Sunday fail to provide?
      3 they thought you looked like a bad guy. Did you say       3            MS. THOMPSON; Objection to the form
      4 something like that?                                      4 of the question,
       5            MS. THOMPSON: Oh}ection to the form            5 BY MR. SUMMERS:
       6 of the question.                                          6    Q Again, you're allowed to say I don't know if
       7     A No, sir. I said because somebody might              7 you don't know.
       8 think you look like a bad person or so on and so          8    A Well, I don't know, sir. I don't know,
       9 forth, you know what I mean?                              9    Q And similarly, do you know what District
      10 BY MR. SUMMERS:                                          10 Attorney Sunday failed to supervise?
      11      Q When you say someone may think that, that         11     A No, sir.
      12 leads me to conclude that you're assuming something.     12           MS. THOMPSON: Pm sorry. Hold on.
      13 Is that what you're saying?                              13 Objection to the form of the question. Now you
      14      A Well you look at me --                            14 answer.
      15             MS. THOMPSON: l'm sorry. You got to          15 BY MR. SUMMERS:
      16 hold on. Objection tothe form of the question. Now       16     Q Do you know?
      17 you can answer.                                          17     A l'm not sure what you're trying to --
      18      A Sorry. I was just stating that basically if       18     Q l'm trying to get at -- I mean you filed a
      19 somebody looked at me and thought that l was a bad       19 federal lawsuit against District Attorney David
      20 person they were looking for, then that's probably       20 Sunday, so l'm trying to figure out the basis of
      21 why I was approached basically. That's about it.         21 that. What do you believe that he failed to properly
      22 BY MR. SUMMERS:                                          22 train and supervise? What should he have done?
      23      Q Are you assuming that or did someone tell         23     A Well, I would have to verify. I dort
      24 you that?                                                24 understand what he would have to do because l'm not
      25      A No. That's what l'm assuming.                     25 Mr. Sunday. Beings that l'm not Mr, Sunday, I


                                                                                                                        41
       1     Q Can you flip to Paragraph 38, please? Did 39       1 couldn't tell you, you know what I mean, what he
        2 you get a chance to read that?                          2 should have or shouldn't have done.
        3    A Yes. l'm trying to understand what this            3         But what was done to me in a sense was if he
        4 pad right at the bottom means. 11 state law caused      4 didn't have probable cause or so on and so forth, why
       5 a -- what's that? Contribution to the -- is that         5 you're harassing this man. Thal's what I was geeing
        6 prosecution of Plaintiff?                               6 at .
        7    Q I'm not going to ask you any questions about       7      Q And I appreciate that, and I really want to
        8 that part of the sentence, and I think your answer is   8 focus on District Attorney David Sunday because
        9 going to be I don't know, but it says that the County   9 that's my client. What role did he have to do with
       10 of York and District Attorney Sunday are                10 what you just described?
       11 policymakers.                                           11            MS. THOMPSON: Objection to the term
       12         Again, l'm assuming your answer is I don't      12 of the question. Now you answer.
       13 know, but you tell me if l'm wrong. Do you know         13     A I don't know, sir.
       14 what, if any, policies District Attorney David Sunday   14 BY MR. SUMMERS:
       15 implements?                                             15     Q Okay. Do you believe that District Attorney
       16     A Well, I don't know Mr. Sunday. Thats why I        16 David Sunday racially profiled you?
       17 couldn't 1=ll you that.                                 17            MS. THOMPSON: 0bj 'in 19 the run
       18     Q Okay. All right. Can you flip to Paragraph        1B of the question.
       19 41, please. Just read it to yourself.                   19     A l couldn'tsay. I would robe able to
       20     A Okay. I read it.                                  20 verify to you fully with that.
       21     Q Okay. Now, again, I represent District            21 BY MR. SUMMERS;
       22 Attorney David Sunday, so that's the focus of my        22     Q Are you aware of any facts that lead you to
       23 questions. You allege that he failed to properly        23 conclude that he racially profiled you?
       24 train and supervise the involved police officers in     24           MS. THOMPSON: Objection to the form
       25 procedures concerning identifications.                  25 of the question.



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                                                          42                                                      44
   1     A No, sir. I know myself, All I know is what      1 arrested -~
   2 was done to me. And whether he did that out of         2    A Yes.
   3 racism, I couldn't verify whether it was racial or    3     Q -- and charged, correct? And you don't know
   4 n o t.                                                4 what role, if any, he had in that, do you?
   5 BY MR SUMMERS:                                        5             MS. THOMPSON: I object to the form of
   6     Q Again, I understand you'll have some             6 the question. Now you answer.
   7 testimony about the police officers, but I'm focusing 7     A I know if his name is on there, more likely
   B on District Attorney David Sunday. You said I don't 8 he had something to do with it.
   9 know whether he did it out of racism or something      9 BY MR. SUMMERS:
  10 like that. What is it that he did?                    10     Q What leads you to --
  11            MS. THOMPSON: I m going to object to       11     A Because his name would be on this paper
  12 the form of that question. Now you can answer.        12 verifying that he has anything to do with it. So if
  13     A Beings that I'm not fully understanding what    13 I was arrested, more Iikeiy he was somebody who
  14 you're getting at, l'd rather than not speak on that  14 agreed with what was going to happen that day so on
  15 so I do not incriminate myself, you know what l mean, 15 and so forth.
  16 because I don't understand what you're trying to say  16     Q Do you understand that these are the facts
  17 right there.                                          17 in Exhibit 1 that you allege?
  18 BY MR. SUMMERS:                                       18     A That I allege?
  t9     Q I'm just trying to figure out what David        19     Q Right. These are your facts.
  20 Sunday -- what you allege David Sunday did.           20     A Hold on. Now you're saying something that
  21     A What I allege he did?                           21 he says here, and then you're saying something that I
  22     Q Yes. Do you allege he did anything to you? 22 allege.
  23      A Beings I'm not fully understanding what        23     Q No, no, no. W hat I'm saying is everything
  24 you're saying, l'd rather not say anything to         24 in this document is your allegations. Do you
  25 incriminate myself, you know what I mean?             25 understand that?


                                                           43                                                          45
  1      Q Do you understand what allege means?                  1     A I understand what you're saying now, okay
   2           MS. THOMPSON: Justto clarify                      2 So you're saying ere --
  3 Mr. Jones, If you don't understand a question versus        3      Q l'm not saying. You're saying.
  4 saying l'm not going to answer, you ask for                 4             MS. THOMPSON: Again for clarity so
  5 explanation. Do you understand? That's what you're          5 it's not made a joke of, I think 'f you need to have
   6 supposed to do Is ask for clarification of the              6 understanding of what the document is, you need to
   7 question .                                                  7 ask the questions for specifics and maybe some
  8      A Okay.                                                8 explanation, again, if it needs to be, what the
  g            MS. THOMPSON: All right.                         9 document is, but you have to ask if you don't
  10 BY MR. SUMMERS:                                            10 understand.
  11     Q What I'm trying to focus on here, what did           11      A Okay. Could you explain to me this, sir?
  12 District Attorney David Sunday do to you or didn't do      12 BY MR. SUMMERS:
  13 to you that you thihk was inappropriate?                   13      Q Sure. This complaint is a complaint that
  14            MS. THOMPSON: l'rn objecting to the             14 you filed.
  15 form of the question. Now you can answer.                  15      A Yes, sir.
  16     A All l can say, sir, is If he was the head            16      Q In the Middle District of Pennsylvania, In
  17 person alone with this procedure, then he put me In a      17 fact, let's flip to Page 17.
  18 situation of being humiliated more than likely.            18      A Page 17?
  19 BY MR SUMMERS;                                             19      Q Yes. lt says verification there. Do you
  20     Q So you said if he is the head person. You            20 see that?
  21 don't know whether or not he is the head person?           21      A Yes
  22     A Because I don't know this man in general. I          22      Q And it says l declare under penalty of
  23 don't know him,                                            23 perjury that the foregoing is true and correct. Did
  24     Q Okay. And then you referred to the                   24 you follow along with me?
  25 procedure, that's the -- what we've discussed being        25    A    Yes, sir.


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       1   Q And then underneath that, it's your name, 46             1 color and what I look like?
      2 correct?                                                      2     Q Yeah. What's your answer to that question?
      3    A Yes, sir.                                                3     A That's more Iikely what I think that as.
      4    Q Okay. So I understand you might not know                 4 Looked at me and thought well, it's a black male
      5 the nuances of perjury, but you generally understood          5 right there, Ha looks like he's probably doing
      6 that you had to tell the truth; correct?                       6 something he shouldn't be doing, you know what I
      7    A Yes, sir.                                                7 mean?                                                     1
                                                                                                                                  I
      8    Q Okay. So I want you to focus on David                    8     Q And other than just your opinion, what leads        II

      9 Sunday. What role, if any, did he have in racially            9 you to conclude that the police arrested you because
      10 profiling you?                                               10 of your skin color?                                      1


      11           MS. THOMPSON: l'm going to object to               11     A Well, if you looking for a black male,
      12 the form of the question.                                    12     Q what leads you to believe that they were
      13    A All I can tell you is I don't know.                     13 looking for a black male?                                I

      14 BY MR. SUMMERS:                                              14            MS. THOMPSON: First of all, objection
      15    Q That's fine. All right. Let's look at                   15 to the form of the question, Calls for speculation.
      16 Paragraph 42, please. Just read it to yourself. Let          16 You can answer.
      17 me know when you're done.                                    17     A No. l was justjustifying if you were
      18    A 40?                                                     18 looking for a black male, then..
      19    Q 42.                                                     19 BY MR. SUMMERS:
      20    A    I want to ask a question.                            20     Q Are you aware of any facts that lead you to
      21    Q    Okay.                                                21 conclude that they were looking for a black male?
      22    A    In says custom of sustaining skin color.             22     A No. l'm just justifying if they were
      23    Q    Substituting.                                        23 looking for a black male then thats probably why.
      24    A    Substituting?                                        24     Q Okay. And maybe we're talking around each
      25    Q    Yes.                                                 25 other. Are you -- what leads you to conclude, if


                                                                 47                                                4
       1   A    Skin color, race. What's that? Authentic?      1 anything, that they were looking for a black males
       2   Q      Ethnicity.                                    2            MS. THOMPSON: Objection to the form
       3   A      Ethnicity. l'm trying to figure out what's   3 of the question, Calls for speculation.
      4 ethnicity. What's that right there, ethnicity?         4     A The only thing that happened to make me
      5      Q In general it refers to either you're           5 think that is that they arrested me because l'm a
      6 African-American.                                       6 black man. That's it. Other than that..
      7      A Okay.                                            7 BY MR. SUMMERS;
      8              MS. THOMPSON: Objection to the form       8     Q Anything other than the fact that you are,
      9 of the question and answer,                            9 in fact, a black man?
      10 BY MR. SUMMERSz                                       10     A State that again .
      11     Q Or if you mean something different, you can     11     Q Sure. I'm trying to figure out why you
      12 tell me.                                              12 believe the police arrested you.
      13     A Okay. l've read it.                             13     A Because they said I was someone they were
      14     Q Okay.                                           14 looking for.
      15     A So basically you re asking me do I feel I       15     Q Okay.
      16 was approached for racist figures I guess. Would it   16     A That's why,
      17 be racist figures?                                    17     Q And do you believe that they were looking
      18     Q Well, my first question is you had              18 for you because you were a black man?
      19 previously said that there was a misunderstanding.    19     A All I know is they were looking for
      20 Do you believe there was a misunderstanding regarding 20 somebody, and it wasn't me,
      21 substituting skin color, race, ethnicity, and/or      21     Q Okay.
      22 national origin?                                      22     A Point-blank. l knew that for a fact.
      23      A Well, l'm not fully understanding what it's    23     Q All right.
      24 trying to say really. Like are you asking me do I     24     A They were looking for somebody, and it
      25 feel like they're approaching me because of my skin   25 wasn't me.


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                                                         50                                                       52
   1    Q All right. And you're not aware of who this         1 of the question. Go ahead.
  2 other person might have been, correct?                    2     A I don't know what that word means.
  3     A No, sir.                                            3 BY MR. SUMMERS:
  4     Q So it could have been a female or a male;           4     Q Do you believe the officers -- do you know
  5 correct?                                                  5 what exaggerating means, correct?
   6           MS. THOMPSON: Objection to the form             6    A Yes.
  7 of the question. Calls for speculation,                    7    Q Do you believe the officers have a policy or
   8 BY MR. SUMMERS;                                          8 custom of exaggerating information?
   9    Q Correct? It could have been a male or               9             MS. THOMPSON: Objection to the form
  10 female; right?                                           10 of the question. Go ahead.
  11     A I wouldn't say Thai. I mean if they were           11      A Do I believe they have -- what do you mean?
  12 looking for a male.                                      12 They have the right to or what do you mean?
  13     Q But you don't know whether they were -- you        13 BY MR. SUMMERS:
  14 don't -                                                  14      Q Do you believe that they regularly do it?
  15     A I couldn't -- why wouldn't I know if they'fe       15     A That they regularly do it? It's on TV a
  16 arresting a black man? That's what l'm justifying        16 lot, believe me, Sorry to say that. It's true.
  17 because you're arresting a black man. You're looking     17 It's on TV a lot, I mean.
  18 for a black male. That's what l'm going off of. I        18      Q l'm assuming you just mean in general, not
  19 mean if you re arresting a black man, you must be        19 these particular police officers?
  20 looking for a black male. That's the only thing l'm      20            MS. THOMPSON: Objection to the form
  21 going off of.                                            21 of the question.
  22     Q And because you were innocent of the               22 BY MR. SUMMERSZ
  23 charges, you knew you were the wrong black man,          23      Q Well, I II ask it then. Are these police
  24 correct?                                                 24 officers named in this complaint regularly on W?
  25     A Yes. I knew 1 was wrongfully accused, and          25      A No, sir. No, sir. That's not actual ywhat


                                                     51                                                              53
  1 what they did do to me was out-of-pocket.                 1 I was trying to get across, The only thing I said is
  2     Q Okay.                                               2 on TV you see police officers do things that are a
  3     A Yes, sir.                                           3 little out-of-pockei at times, you know what I mean?
  4     Q Read Paragraph 43 to yourself, please.              4 And that police officer is not the best police
  5     A Okay.                                               5 officer on your force.
   6    Q Now, it refers to the training and                   6      Q I thought that's what you meant, but when
  7 supervision of the officers involved. Do you know         7 your attorney objects, then I have to follow up with
  8 what training the officers involved had?                  8 questions.
  9     A No, sir,                                            9              MS. THOMPSON: So again, objection to
  10     Q Do you know what training that you believe         10 that statement as well.
  11 they should have had?                                    11 BY MR. SUMMERS;
  12     A No, sir.                                           12       Q Have you -- for these particular police
  13     Q Do you believe the police officers have a          13 officers named in this case, and their names are at
  14 policy or a custom of fabricating information?           14 the beginning if you want to look at it again, have
  15           MS. THOMPSON: Objection to the form            15 you ever had any other interaction with them other
  16 of the question, but go ahead.                           16 than the set of facts that are in your complaint?
  17     A I don't know.                                      17       A No sir.
  18 BY MR. SUMMERS:                                          18       Q Do you have any friends or relatives that
  19     Q Do you know what embellishing means?               19 have interacted with these police officers?
  20     A No, sir.                                           20       A No, sir,
  21     Q Exaggerating?                                      21       Q So your sole involvement with these
  22     A Exaggerating, I know what that is.                 22 particular police officers relate to the facts
  23     Q Do you believe the police officers have a          23 identified in this complaint; correct?
  24 policy or custom of embellishing information?            24       A Say that again.
  25           MS. THOMPSON: Objection to the form            25       Q Your only involvement with these particular


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  1 police officers relate to the incident identified in          1     A The people that adjusted -- they wanted me 56
   2 this complaint; correct?                                     2 arrested for thai specific day for whatever reason.
  3      A Basically, yes.                                        3 When we got to the courtroom, they told the Judge,
  4      Q Okay. All right. That sentence also refers             4 somebody that wanted to some get me, we lost our
  5 to omitting material information. Omitting means              5 evidence.
  6 leaving out. Are you aware of any information the             6    Q When you say judge, are you referring to the
  7 police officers left out of affidavits?                       7 York County Courthouse?
   8           Ms. THOMPSON; Objection to the form                8    A Judge James Morgan. That's the guy that
   9 of the question. Go ahead.                                   9 gave the body warrant to come get me I guess. He
  10      A What do you mean by that, sir?                        10 specified that you have Mr Jones locked in York
  11 BY MR. SUMMERS:                                              11 County Prison and you don't have nothing on him. He
  12      Q What did the police officers leave out of             12 was very upset about that.
  13 the affidavit?                                               13    Q Okay. And this is the judge that authorized
  14      A You mean information-wise?                            14 the warrant is what you're saying?
  15      Q Yes.                                                  15    A Yes, Judge James Morgan.
  16      A Well, what they wrote down because I have it          16    Q All right. Did you ever appear at the York
  17 in my pocket is something totally different that they        17 County Courthouse?
  18 specified when they went to court, you know what I           18    A Iwas there so many times It was a shame
  19 mean? Like well, I was checked, so on and so forth  19 Like I said, all they kept doing was beating around
  20 and all that stuff                                  20 the bush about, quote, like I said, a Cl that was
  21        Certain things they stated, put it like      21 never there, you know what I mean, and stuff that was
  22 that, were switched around. And then when we got to 22 never there, you know what l mean?
  23 the courtroom, quote, unquote, their Cl that they   23         Like they said something about marked money.
  24 claimed they had, this person never shows up in a   24 Well, all this stuff that you're stating that was
  25 year and a half. And you tell me ifwlihin a year    25 there, where is all this stuff at that you're


                                                             55                                                        57
   1 and a half why we never seen this person.                    1 s1-ling? It's 4 I falsely accusing. They're
   2    Q    Okay. So what does Cl mean?                          2 accusing me of stuff that you're making up.
   3    A   Correctional informant, I think.                      3    Q I understand you're not an attorney, but do
   4    Q    Confidential informant maybe?                        4 you know why your charges were dismissed?
   5    A   Something lake that. l don't know.                    5    A Lack of evidence is what I came up with.
   6    Q    And you never learned who that person was?    6 Lack of evidence. I told my public defender that,
   7    A   Yes, Within a year and a half we never met     7 you know what I mean, all the evidence they, quote,
  8 this person in a courtroom at all.                      8 unquote, gave you it's a lie. I know it's a lie,
  9 Q Okay. And your charges were essentially              9         Pictures that she told me and statements
  10 dismissed because the prosecution did not happen fast 10 that she gave to me when she showed me pictures and I
  11 enough; correct?                                      11 explained to her and she looked at those pictures and
  12 A lt was because it was a false -- how would I        12 was like well, you got a good point there. I said,
  13 say it? A false statement given, you know what I      13 of course, because it's a lie. So l know it. That's
  14 mean? They stated that I made a transaction or        14 why I wasn't bothered by it.
  15 something with a Cl and then they stated that I       15     Q Okay. So you believe your charges were
  16 directed the CI to come to Gas Alley or something            16 dismissed based upon lack of evidence?
  17 like that.                                                   17    A Basically, sir.
  18        And within all these statements that they             18    Q Any other reason that you believe that they
  19 given when they came to the judge tike given a               19 were dismissed?
  20 warrant to come get me, their words to him were we           20    A That's all I could think of at the time,
  21 lost our evidence. Why would that be?                        21 sir.
  22 Q Who are you saying said that?                              22    Q Okay. You understand that a trial involves
  23 A Oh, that's what they stated. We lost our                   23 adjudge and ajury; correct?
  24 evidence.                                                    24    A Yes.
  25 Q And you're saying they?                                    25    Q You never went to a proceeding like with a


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  1 judge and jury, did you?                                    1 regarding racial profiling?
  2     A Yes.                                                  2     A Do I know of any?
  3     Q You did?                                              3     Q Yes.
  4     A Mm-hmm.                                               4     A Not offhand. Not offhand right at that
  5     Q I don't think you did, but you correct me if          5 time.
   6 I'm wrong,                                                  6    Q Can you flip to Paragraph 52, please.
  7     A No, not for this.                                     7     A Okay.
   B    Q Yeah, for this.                                       8     Q You can refer to that or read as much as you
   9    A l'm sorry. I thought you meant -- you said            9 want, but really I want to know -- the very last line
  10 ever. l'm sorry. l misunderstood what you said.            10 in that it refers to selective prosecution based upon
  11     Q Fair enough. I'm glad you clarified that.            11 skin color, race or ethnic origin.
  12 So for this process you never went to a judge and          12         Tell me what you know about selective
  13 jury; correct?                                             13 prosecutions by the York County District Attorney's
  14     A We went to court. But every time we went to          14 Office.
  15 see the judge, their excuse was the Cl's not here.         15             MR. THOMPSON: Objection to the form
   16 The Cl's in another courtroom. The Cl's at a              16 of the question. Go ahead.
   17 doctor's appointment, some nonsense which, quote,         17     A I don't. I don't know, sir. I don't know.
   18 unquote, like I said, there was stuff that they were      18 Racial profiling as a basis of suspicion in criminal
  19 making up thats a lie because there was no CI.       19 investigation and of selective prosecution based on
  20 There was no drugs. There was nothing there which 20 skin color, face or ethnic origin.
  21 you locked me up for                                 21 Q Right. The District Attorney is also the
  22         That's what it was, you know what I mean?    22 prosecutor, so that's why I'm kind of focusing on
  23 It was like a bunch of nonsense. You put it together 23 that part. Are you aware of any selective
  24 yourself, and you try to get it together off of it,  24 prosecution based upon skin color?
   25 you know what! mean?                                      25     A    No, sir, not that I know of,


                                                           59                                                      1
   1           MR. SUMMERS: Okay. l've got to use               1    Q Are you aware of any selective prosecution 6
   2 the restroom. Let's take a break. Mr. Jones, you           2 based upon race?
   3 can stretch your legs, get a drink, go to the              3    A Not that I know of.
   4 bathroom, take a break if you want.                        4 Q Are you aware of any selective prosecution
   5           (Recess taken from 11:17 a.m until               5 based upon ethnic origin?
  6 11:22 a.m.)                                                 6 A I don't know what that word means, so I
  7 BY MR SUMMERS:                                              7 can'i specify because I don't know what that word
   8   Q Flip to Paragraph 47, please. Just read                8 means.
  9 that entire thing to yourself. Let me know when             g        MR. SUMMERS: That's fine. Chris,
  10 you're done. Okay. Did you get a chance to read            10 I II let you start asking some questions while I look
  11 that?                                                      11 at my notes. I think I`m done, Do you want to
  12    A Yes, sir.                                             12 switch?
  13    Q What prior complaints of racial profiling             13         MR. BOYLEZ Yeah.
  14 are you referring to in your complaint at Paragraph        14
  15 47?                                                        15           EXAMINATION
  18    A Well, being a black male and specifying my            16
   17 rights as a man, I was basically denied, declined,        17 BY MR. BOYLE:
   18 and told that basically shut up and do what we say        18    Q Mr. Jones.
   19 you know what I mean?                                     19 A Yes.
   20        When all was said and done, it came out that       20    Q My name is still Chrls Boyle, and I still
   21 l had nothing, like l said, and still I was sent to   21 represent Officer Gartrell and Chief Bentzei in the
   22 York County Prison and falsely accused of something I 22 lawsuit you bought in federal court. l'm going to
   23 didn't do.                                                23 take over the questioning now.
   24    Q Are you aware of any other complaints                24       We're going to go until about 12:30 when
   25 against York County District Attorney's Office            25 your counsel has to take a break to attend to another


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  1   important matter. Maybe we'II be done by then, but I 62   1 verify The whole thing. Everything in here certain
  2 think that's unlikely. If we're not done, then we'll        2 things that I believe like are twisted and certain
  3 come back at 2:00, and we'Il finish up there then.          3 words Iiust don't understand, so ii's like.
  4 All right?                                                   4      Q Okay. What do you mean twisted or what in
  5     A Yes, sir.                                             5 there do you believe is twisted?
  6     Q Did you understand al! the Instructions that           6      A The way they're saying it, is the way
   7 you've already been given about your deposition?            7 they're saying it, explaining it I would say. The
   8    A Most of them                                           8 way they're explaining it to me.
  9     Q Okay. What instructions did you not                    9      Q Can you give me an example? Take as long as
  10 understand? I II see if! can clarify them for you.         10 you need. Look through there and find me something
  11     A Certain words that probably were specified           11 that you believe is Misted, and then we'll discuss
  12 that I didn't understand them.                             1 2 it .
  13     Q Okay. would ask that if at any point                 13       A Right now, l'm not seeing anything right now
  14 during my questioning you don't understand a word I        14 on this paper. I ain't seeing anything right now.
  15 use or a word that is used in the complaint because        15       Q When you say this paper, you mean the
  16 we're going to be referring to that again --               16 complaint that you filed in federal court, right?
  17     A Yes.                                                 17       A Yeah. I don't see anything. That they re
  18     Q -- that you ask, and l'II try and clarify it         18 stating, that they stated, you know what I mean?
  19 as best as I can so we have a common understanding,        19 This is more like what they're asking me that I said.
  20 and you can answer the question based on that common       20       Q Okay. When you say they stated, who are you
  21 understanding, Is that acceptable to you?                  21 talking about?
  22     A Yes, sir.                                            22       A Well, what they stated on paper that I have
  23     Q Okay. I understand, sir, that you didn't             23 in my pocket.
  24 write the complaint. That you have very able counsel       24       Q Okay. What paper do you have in your
  25 that takes care of that for you, but we do have to         25 pocket, sir? Is that it on the table in front of


                                                                                                                     65
  1 base the questioning on what's in this document. A83        1 you?
  2 r ig ht ?                                                   2     A l'm sorry.
  3      A Yes.                                                 3     Q That's okay.
  4      Q When was the first time you saw this                 4     A This is information that was g'ven to me
  5 complaint?                                                  5 filed into this.
  6      A I can't remember offhand. l'd be lying to            6     Q Information that was given to you by whom?
  7 you. I don't remember off the top of my head.               7     A This is from the Northern -- I guess
  B      Q Well, l'm certainly not looking for you to           8 Northern Regions s and York City Police. I guess
  9 lie to me. W as it before it was filed in federal           9 they were in anoint task force at the time so they
  10 court?                                                     10 were look a team, you know what I mean?
  11     A I can't remember. That's all. I can't                11     Q Okay.
  12 remember right now.                                        12     A So it's like a form of both of them all
  13     Q Okay. Did you verify that everything in              13 together.
  14 there was true and correct? l'm not asking you about       14     Q So what you're looking at is documents that
  15 the legal terms. I'm asking about the facts of what        15 you received as part of the discovery in your
  16 happened to you involving the police and the District      16 criminal matter?
  17 Attorney.                                                  17     A Yeah. Like you know what l mean? Just
  18          Did you verify that all those things were         18 statements of, you know what 1 mean, what they say
  19 true and correct?                                          19 they did and they didn't do and certain things that
  20      A Yes, sir.                                           20 they shouldn't have done that they did, you know what
  21      Q Okay. Having had the opportunity to look at         21 I mean?
  22 some of this already today, is there anything that         22     Q Okay. And did you look at those documents
  23 you see today that you feel is not true and correct?       23 in preparation for your deposition today?
  24      A I haven'l read the whole thing myself right         24     A Well, l read over these, but most of these
  25 now, so l couldn't say I read the whole thing to           25 are like questions that were from -- more like from



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  1 me and statements that I felt was done to me, stuff           1 Officer Gartrell. That's the first page. The second 68
  2 that 1 feel was done to me, too.                               2 page is an affidavit of probable cause, and there's
  3     Q I think we're talking about two separate                3 some handwritten notes on here. These handwritten
  4 things, so let me see if I can clarify it. The                 4 notes in blue, did you write those, sir?
  5 documents that you're looking at right now in your            5     A If they're underlined, yeah, I underlined
  6 hand that you brought with you to the deposition               6 them.
  7 today and that have been sitting on the table in              7     Q The underlining and the --
   8 front of you, did you look at them in preparation to          8    A The statements, yes.
  9 get ready for your deposition today to refresh your            9    Q And the statements, you wrote those?
  10 memory perhaps?                                              10      A Yeah, the statements.
  11     A Yeah. I weht over these. I mean I read                 11     Q All right. And on the third page is another
  12 over them.                                                   12 page of the affidavit of probable cause, and, again,
  13     Q Okay. How many pages are there, sir?                   13 there's some underlining, and it looks like a
  14     A I think four all together.                             14 handwritten note at the bottom, went to hospital and
  15            MR. BOYLE: Okay. Counsel, l'm going               15 found nothing, officer is a lier, l-i-e-r Did you
  16 to ask that you take a look at it and make sure              16 write that, sir?
  17 there's no privileged material before I ask him to           17      A Yes.
  18 hand them over for me to take a look at them.                18      Q Okay. Next page is the last page. lt looks
  19     A Four pages.                                            19 like the affidavit of probable cause. Actually, it's
  20            MR. BOYLE: Sandra, do you want to                 20 Page 4 of 5.
  2'l make sure -..                                               21      A One of them might be missing.
  22            MS. THOMPSON' I'm waiting for him to              22      Q And one of them appears -- the next page
  23 be done his review.                                          23 appears to be just the top corner of a page?
  24     A l'm seeing If any of the people that the               24      A 1's probably the fifth one. It wasn't a
  25 names are on this paper. That's all. That's what             25 lot that was there. Associated with controlled


                                                             67                                                            69
   1 l'm looking for.                                             1 substance use or -- it's a piece. Yeah, a piece of
   2 BY MR. BOYLE:                                                2 mine is missing.
   3   Q Sir, all we're asking right now or all l'm                3    Q Okay. I'm going to ask you to hand it back
   4 asking right now, I believe you've already answered,         4 to me. We're going to ask the nice folks here at the
   5 I asked if you used those documents or referred to           5 Bar Association to make a copy of all these
   6 those documents to prepare for your deposition here           6 documents, and then I'll attach them to the record.
   7 today .                                                      7          The last page appears to be the verification
   8    A      Yes, sir. Yes.                                      8 for -- you tell me. Is this the verification for
   9    Q      And you said yes.                                  9 your lawsuit, sir? Because it appears to be the same
  10     A     Yes.                                               10 as the 17th page of Exhibit 1 except there's an
  11             MR. BOYLE: Now, I'm going to ask for             11 actual signature there rather than a typewritten
  12 you 1 pass them over      your attorney so that she          12 signal re.
  13 can make sure there s no like notes from lawyers or          13     A This looks more likely paperwork that was
  14 things that are privileged communications.                   14 given -- like I got from going through getting this
  15           MS. THOMPSON. it's all the documents               15 paperwork here.
  16 that you brought.                                            16     Q By which you're referring to Exhibit 1?
  17             MR. BOYLE: Go ahead. Hand it all on              17     A No, right here. I was given this paperwork
  18 over.                                                        18 first.
  19             MS. THOMPSON: Hand in to me.                     19    Q You were given the search warrant paperwork
  20 BY MR. BOYLE:                                                20 first?
  21    Q Okay. Your counsel has looked over it, and              21    A    Yeah what they, quote, unquote, stated it
  22 I'm going to assume that there's nothing privileged   22 was for. There was I guess a verification of the
  23 or she wouldn't have handed it to me.                 23 date, you know what I mean verifying that I got that
  24       What we have here is an application for a       24 information.
  25 search warrant which appears to have been prepared by 25    Q Okay. So you believe you're verifying on



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  1 that document that you got the search warrant              1     Q Okay, Would the same be true for those
  2 application, right?                                        2 questions if we substituted Chief Bentzel for
  3    A Yes.                                                  3 District Attorney Sunday?
  4    Q What's the date on that document, sir?                4            NIS. THOMPSON: Objection to the form
  5     A February 8th, 2019.                                  5 of the question. Go ahead.
   6    Q The same as Page 17 of your lawsuit. All              6 BY MR. BOYLE:
  7 right. Why don't you -- we'l¥ put this all together.        7    Q Do you understand the question, sir?
   8 When we take a break, we will get copies of that, and      8    A No, I don'l, sir.
  9 I may have some questions later.                           9     Q Okay. You were asked questions what did
  10            MR. SUMMERS' Mr. Jones, can you speak          10 District Attorney Sunday fail to train the police on
  11 up a lad .                                                11 as an example. Do you remember being asked a
  12    A Sorry.                                               12 question like that?
  13 BY MR. BOYLE1                                             13     A Yes.
  14    Q On that verification page, is that your              14     Q Now, if I took out District Attorney Sunday
  15 signature, sir?                                           15 and put in Chief Benuel and asked you what training
  15     A Yes sir.                                            16 did Chief Bentzel fail to provide the police, would
  17    Q Okay. Do you know who Mark Benlzel is?               17 the answer be the same as it was for District
  18     A No, l don't, sir.                                   18 Attorney Sunday?
  19     Q Could you describe him to me physically?            19     A Yes, more likely sir.
  20     A l don"t know who he is.                             20     Q What do you mean more likely so?
  21    Q Okay. If I told you he's the chief of                21     A No. I said more likely, sir.
  22 police for the Northern York Regional Police              22     Q More likely, sir. What do you mean more
  23 Department, would that help you at all in knowing who     23 likely, sir?
  24 he is?                                                    24     A Because everything that was stated was wrong
  25     A No.                                                 25 when they did their procedure on me as far as patting


                                                           7                                                          73
   1     Q Okay. Do you know If you've ever met him 1          1 me down you know what l mean, so on and so forth
   2 before?                                                   2     Q Okay.
   3     A I might have met him, but l'm not sure. I           3             MS. THOMPSON: l'm sorry. don't
   4 don't know. Like when you see somebody's name             4 believe he was finished his answer.
   5 specifically, I don't know him like right offhand by      5             MR. BOYLE' I was trying to speed up
    6 the name.                                                6 the process, but you're absolutely right
   7     Q Is it possible you may have seen his name in        7 BY MR. BOYLEz
   8 the newspaper when certain things happen like a           8     Q Sir, I cut you off. Please feel free to
   9 police shooting or something like that?                   9 finish.
   10     A No, not that I know of.                            10     A Just basically things that were done to me
   11     Q Okay. You don't recall ever having                 11 that day, you know what I mean? So if they were like
   12 meeting -- ever having met him in person, though, is     12 say the head guys of this procedure itself, you know
   13 that right?                                              13 what l mean, I don't know them in person like saying
   14     A In person l have not met him.                      14 l know this person, like we went somewhere together,
   15     Q You were asked a lot of questions today            15 we talked. I don't know them in general. But If
   16 about District Attorney -- and the first day of your     16 they were there and I socialized with them and l made
   17 deposition about District Attorney Sunday?               17 a statement, anything l've stated should be right
   18     A Yes.                                               18 there in black and white like I stated.
   19     Q And you testified, correct me if l'm wrong         19     Q I have no idea what that meant, but you --
   20 here, but you testified that you don't know what         20     A Like I said at the beginning, l said to them
   21 involvement, if any, District Attorney Sunday had        21 like she's doing that's written down on paper
   22 directly in your case. Is that accurate?                 22 verifying this is what I said, this is what it was.
   23     A Yes I was stating I don't know                     23     Q Okay. Who did you make this statement
   24 specifically myself what his position in that error      24 before like we're doing today? Was that to your
   25 was.                                                     25 attorneys?


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   1     A Hold on Fill me in on wlwat you're saying           1    A I'rn not sure.
   2 right there again.                                        2   Q Do you have any reason to think that he was?
  3      Q W ell, that's what I didn't understand.             3    A If he was part of this procedure, he may
  4      A You said who l'd make this statement.               4 have been.
  5      Q Yeah. You just described making a                   5     Q Okay. Would you say that because he's the
   6 statement.                                                 6 chief of police, and, therefore, you believe he
   7     A Yeah, to the officers, the officers I was           7 should have?
   8 arrested by,                                              B     A Basically, sir.
  9      Q Okay. And you pointed to our court reporter          9    Q Okay. That's the same thing you said about
  10 and said that they were taking it down just like she      10 District Attorney Sunday. Am I correct?
  11 is today.                                                 11     A Yes.
  12      A She is. She's typing it down. They were            12     Q Okay. So your basis for suing Chief Bentzel
  13 writing it down.                                          13 and for suing District Attorney Sunday is because of
  14      Q Okay. W ho was writing it down?                    14 their positions, their leadership positions in the
  15      A The other officers that were there at the          15 District Attorney's Office and the police department.
  16 tim e.                                                    16 is that accurate?
  17      Q Okay. Ali right. Let's go back to Chief            17            MS. THOMPSON! Objection to the form
  18 Bentzel, and we'll go from there.                         'IB of the question. Now you go ahead.
  t9      A Ali right.                                         19      A In the sense it would be yes because they
  20      Q Do you know anything, any single thing, in         20 were I guess the head officers or procedures at that
  21 relation to your lawsuit that Chief Bentzel did to        21 time, you know what l mean? This is what we're doing
   22 you himself? Again, the instruction ill don't know       22 and this is whats going to be done.
   23 is --                                                    23 BY MR. BOYLE'
   24    A    I don't know, sir. 1 don't know because --       24    Q   Okay. So the answer was yes?
   25            MS. THOMPSON: Hold on. He was not --          25    A   Yes.


                                                          75
   1 he was in the middle of talking. You got to wait,         1    Q Okay. l'm going to do everything I can not 77
   2 BY MR. SUMMERS:                                           2 to ask you the same question that you were already
   3      Q You can finish your answer, sir. Please go         3 asked. Forgive me if I do, but it also means I might
   4 ahead.                                                    4 jump around a little bit. All right?
   5            MS THOMPSON: All right. So if he's              5    A Yes, sir.
   6 finished, objection to the form of the question. Now       6    Q You talked about saying that you can't get a
   7 you go.                                                    7 CAT scan. W ho did you tell that to?
   8      A Say that again for me now.                          8    A The doctor that was doing the procedure at
   9 BY MR. BOYLEi                                             9 the time and the two officers that were right there
  10      Q Are you aware of anything that Chief Bentzel       10 watching the procedure.
  11 himself did to you in relation to your lawsuit?           11     Q Right.
  12              MS. THOMPSON: Objection to the form          12     A At the time l let them know that I can't go
  1:3 of the question. Go ahead.                               13 through the CAT scan because I have a metal plate in
  14      A I can'tsayl know anything specifically             14 my head from a car accident, and they said that
  15 that he's done wrong to me unless he's the one that,      15 magnet inside that could pull it and like cause more
  16 like I said, prescribed for the body warrant, He was      16 medical damage.
  17 saying - saying he wanted a body warrant certain          17     Q They being the doctors who put the plate in?
  18 done to me, but it was never officiated through a         18     A Yes, and it's in York Hospital records.
  19 warrant. You need a warrant to get a cavity search        19     Q Okay.
  20 on me. So when they did so, they did it out of their      20     A So it's in the records.
  21 own means. We're going to do it because we feel we        21     Q And you told that to the doctor at the
  22 can do it.                                                22 hospital when the police on this case took you to the
  23 BY MR. BOYLE:                                             23 hospital?
  24      Q Was Chief Bentzel there when any of that           24     A Yes.
  25 happened?                                                 25     Q And what did the doctor say?



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   1    A Nothing. He just went along with the            1     A Yeah.
  2 procedure. He said basically it was like they         2     Q Do you have any other sources of income? Do
  3 brought you in here, l'm doing what they told me to    3 you do anything to make money besides jobs for your
  4 do. Then when he told them that I see nothing in      4 dad and besides receiving Social Security?
  5 this man, he slammed the door out of anger letting    5     A Once in a while like E have a side job with
   6 them know you brought this man here for nothing.      6 my friend. He does scrap. He takes like certain
  7      Q Okay. All right. But you told that doctor       7 metals, and I guess you get a certain amount of
   8 you're not allowed to have a CAT scan and the        8 weight, they give you a certain amount of money for l
   9 doctor -                                              9 guess the amount of weight you have on your --
  10     A l'm not allowed to have a CAT scan.            10     Q Yeah.
  11     Q Let me finish. Just let me get it out.         11     A Then you get paid for that, so I do that
  12     A l apologize.                                   12 sometimes.
  13     Q It happens a lot. And ill do it to you,        13     Q How often do you do that?
  14 you're going to correct me. You told all that to the 14     A Probably like once a month.
  15 doctor; correct?                                     15     Q Once a month for a day?
  16    A Yes, sir.                                       16     A Probably like two or three days. But within
  17    Q And the doctor still went ahead and did the 17 those days then when we get a certain amount of money
  18 CAT scan, correct?                                   18 for -- like say we did it for three days. Whatever
  19    A Yes sir.                                        19 we got from those three days, we'll weigh it out and
  20    Q Okay. l'm not trying to show you                20 then we'II get a couple dollars for that.
  21 disrespect.                                          21     Q How much do you usually get? Let's say it's
  22    A No. I apologize.                                22 three days of work. What would you say you'd get for
  23    Q Again, we can only talk one at a time so        23 that?
  24 that the young lady here can take down everything 24        A Probably about 40 bucks.
  25 that we say. All right.                              25     Q 40 bucks between the two of you?


                                                           79                                                           81
  1         On the first day of your deposition you were        1    A No. It's split. You could get 80, so he
   2 talking about Social Security benefits and your            2 would take 40, I will get 40.
  3 employment history. Other than Social Security              3    Q Okay. All right. When was the last time
  4 benefits, how do you support yourself?                      4 you filed a tax return? Have you ever filed a tax
  5      A I do side things for my pops, you know what          5 r e t ur n?
   6 I mean? Like he needs a little help cutting his             6      A Not that I can remember. I think I have,
   7 grass, maybe help cutting some limbs down from a tree       7 but I don't remember. I'm not too sure. It's been a
   8 or something, you know what l mean?                        8 minute, you know what I mean?
  9      Q Right.                                               9       Q W hen you say it's been a minute, it's --
  10      A He gives me basic work to do to give me a           10       A It's been a long time.
  11 couple dollars, you know what l mean, to maintain.         11      Q It's been at least five years?
  12     Q Okay. So your father supports you?                   12      A A long time,
  13      A Yes.                                                13      Q It had to have been at least five years?
  14     Q Okay. He gives you spending money?                   14      A Longer than that.
  15      A Well, I got to work for it.                         15      Q At least ten years?
  15     Q That was a bad question then. The money you          16      A Longer than that.
  17 have comes from Social Security and from your father.      17      Q Okay. So longer than ten years?
  18 Are there any other sources of money for you?              1B       A Yes.
  19      A Stamps. I get food stamps.                          19      Q Fair enough. You've sued Officer Patrick G.
  20      Q You get food stamps. Any other benefits you         20 Gartrell, Jr. Can you describe Officer Gartrell to
  21 receive or any other --                                    21 me? What does he look like? First of all, I'm
  22      A Medical. I have medical benefts.                    22 assuming it's a man because it's Patrick, is that
  23      Q Okay. What's your medical benefits?                 23 correct?
  24      A I think it's Aetna Better Health.                   24   A It sounds like a man.
  25      Q Aetna Better Health?                                25   Q It sounds like a man. It does indeed. Is



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   1 he a black man? A white man? An Asian man?                 1 go to Page 5 In the complaint, Paragraph 13, under 84
  2 Hispanic man?                                                2 the heading Facts, so these are the sections of the
  3    A l'm not sure sir.                                      3 facts in your complaint. Okay. Not -- I don't want
  4    Q Okay. You're not sure if he's black or                 4 any opinion on legal language. lwantjust on the
  5 white?                                                      5 facts.
   6   A He sounds Ilks he's Spanish                            B         It says on February 8, 2017, Officer
  7    Q Sounds Spanish?                                         7 Gartrell as a member of the YCDTF along with other
  B    A Yeah.                                                   8 members or agents of the YCDTF acting alone or with
  9    Q And that's based on his name, sir?                      9 YCDTF aggressively and erratically drove an unmarked
  10    A Yes.                                                  10 police van toward Plaintiff with great speed, and
  11    Q Okay. Could you pick him out if I showed              11 then it goes on to say where you were.
  12 you a picture -~ if I showed you eight pictures of         12         Can you say that that was Officer Gartrell
  13 Hispanic males and one of them was Officer Gartrell,       13 driving at the time?
  14 could you pick him out?                                    14     A If that was the person driving then that
  15    A Maybe.                                                15 would be him. If that wasnt the person driving,
  16            MS. THOMPSON' I object to the form of           16 then it wouldn't be him. That's all l can state to
  17 the question.                                              17 you
  18 BY MR. BOYLE:                                              18   Q      l'm going to --
  19    Q And the answer was maybe, sir?                        19   A      Because l don'i know specifically who was
  20    A Maybe.                                                20 driving the car, but I know when one of them got out
  21    Q Okay. When you say it sounds Spanish, do              21 and stated after I jumped out of the way and got away
  22 you have any recollection at all of what Officer           22 from him from a distance, like we're the police, why
  23 Gartrell looks like or are you basing the sounds           23 are you running. I said well, when do the police try
  24 Spanish on the sound of his name?                          24 to run a person into the wall.
  25    A I said he sounds Spanish, that's what I               25     Q    Okay. Who was it that said we're the


                                                           83                                                     85
  1 said. He sounds Spanlsh.                               1 police, why are you running?
  2     Q Okay. Can you form a picture in your head        2       A It was a person that -- he lumped out the
  3 of what he looks like?                                 3 passenger seat,
  4     A Not at this time, no you know what I mean'>      4       Q Okay. Was that Officer Gartreli?
  5     Q No. I don't know what you mean.                  5       A l'm not sure.
  G     A Not at this time, sir                             6      Q Okay. What did that officer look like?
  7     Q You don't know what he looks like?               7       A He was -- l'd say -- he looked like kind
  8     A Right at this time, no, I couldn't tell you      8 of -- how would I say? I don't want to say Span'sh.
   9 what somebody looks like. There's certain officers    Q He looked like -- he was a white male with a
  10 that were there ill had seen them again, l probably   10 little -- I would say a tan to him, a little tan to
  11 could verify to you.                                  11 him, you know what l mean?
  12    Q Okay.                                            12       Q How tall?
  13    A I remember him being there, you know what I      13       A Probably about five-elght, five-nlne
  14 mean, if he was in front of me or so on and so forth. 14       Q Can you estimate his weight or tell me what
  15    Q Okay. How is it you remember -- you              15 his size was?
  16 described the actions of several officers being       16       A No. l can't do all that. I don't know.
  17 present. How do you say that Officer Gartrell did     17       Q Thin? Medium? Heavy?
  18 something as opposed to one of the other officers?    18       A He was thin built.
  19 How are you able to say it was him and not one of the 19       Q Thin built?
  20 others?                                               20       A Mm-hmm.
  21    A How would I be able to say it was him and        21       Q Okay. Do you know what he was wearing?
  22 not the others?                                       22       A Regular clothes.
  23    Q Yes.                                             23       Q What are regular clothes? This is regular
  24    A What do you mean by that?                        24 clothes to me.
  25    Q All right. Let's find an allegation. Let's       25       A A shirt and pants


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   1    Q A shirt and pants. Like a police shirt?                   1     Q White male?
  2 Was he in uniform?                                              2     A Yeah.
  3     A Just a regular shirt and pants.                           3     Q How tall?
   4    Q Do you remember what color it was?                        4     A I can't -- I don't remember, sir.
  5     A White shirt, I think it was. White shirt.                 5     Q Was he taller or shorter than the first one?
   5    Q White shirt. When you say regular pants,                  6     A I don't remember. 1 don't remember.
   7 jeans? Khakis? Black? Blue?                                    7     Q What was he wearing?
   8    A Probably leans                                            8      A I don't remember what he was wearing. One
  9     Q Probably jeans?                                           9 of them got out, and, like I said, he got out and
  10    A Probably jeans                                            10 chased me a little bit, and he said were the police,
  11    Q Do you have a distinct -- do you have a                   11 why are you running Ilks I said And l'm like well
  12 memory of what he was wearing or are you guessing?             12 when do the police try to run you inlo the wall and
  13    A l'm just going off of what -- l remember he               13 break your legs
  14 had a white shirt. He had a white shirt on. He was             14     Q Okay. Neither one of those officers was a
  15 chasing me. And like I said when we got a                      15 Spanish officer?
   16 distance, he was like we're the police, why you               16     A They didn't look Spanish to me. They just
   17 running. I said well, when did the police try to run          17 had -~ one of them had like a little tan to him, and
   18 you into a wall.                                              18 the other one was a lot lighter.
   19         He didn't say we're the police, we're the             19     Q Okay. The other officers that arrived on
   20 police, stop, freeze, all that, you say that stuff.           20 scene, were they all in uniform?
   21 Not we're going to run you Into the wall and break            21     A Most of them.
   22 your legs and then discuss the situation to you               22     Q Most of them?
   23   Q Okay. But you can't tell me whether Officer               23     A Yeah
   24 Gartrell was driving the van; right?                          24     Q Did you have any interaction with any
   25   A i'm not sure whether he was driving or he                 25 officer? Besides the two from the van, okay, besides


                                                        87
   1 was a passenger.                                               1 those two, did you have any interaction out there on89
   2     Q Okay. Can you tell me whether he was the                 2 the street with any officers in plain clothes?
   3 passenger that got out and asked you why you were              3     A On the street? What do you mean on the
   4 running?                                                       4 street?
   5     A    just said I couldn'i tell you that.                   5     Q Where they stopped you --
   6     Q l'm sorry. I must have missed it. Was                     6    A Oh, where they stopped me at?
   7 there anyone else in the van?                                  7     Q Let me give you the whole thing. You said
    8    A It was two of them.                                      B you're walking in the alley, and the van comes
   9     Q Just the two of them. Did you see any other              9 speeding towards you, and you ran for a distance, and
   10 police officers out there in the alley?                       10 the passenger of the van gets out and stops you. And
   11     A No, sir. After that, police officers came               11 then the driver of the van gets out and is dealing
   12 to the area.                                                  12 with you; right?
   13     Q Okay.                                                   13    A I said the passenger got out, and he chased
   14     A But they were the only ones that jumped out             14 me a little bit and said why are you running we're
   15 that van and, quote, unquote -- well, he was the only         15 the police,
   16 one that jumped out the van at the time. The other            16    Q Did you stop at that point?
   17 one backed up, you know what I mean, they went                17    A No. I slowed down and said well, hold on,
   18 through the procedure. Like l said, he pat me down,           18 when did the police start trying to run you into a
   19 and l don't have anything, and l asked him what is            19 wall and break your legs.
   20 this all about.                                               20    Q Okay. You eventually stopped or you --
   21     Q Okay. What did the driver of the van look               21    A Yeah, l stopped. I just stopped running. I
   22 like? There was only two. The passenger was the tan           22 was talking to him.
   23 while male five-eight, five-nine. What did the other          23    Q Let me get it all out. Did you stop or did
   24 one look like?                                                24 he catch you?
   25     A It was a white male.                                    25    A No. l stopped, yeah.



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   1     Q Okay. How far from when you first started gO         1 you were supposed to be making a sale to a CI. WeII,92
   2 running until when you stopped?                            2 hold on, I'm walking down the alley by myself, sir.
  3      A About 20 yards.                                      3 What are you seeing that l'm rlotseeing is what l
  4      Q About 20 yards, okay. And the plain clothes          4 asked ham.
   5 officer who was driving the van, does he get out of        5    Q I appreciate all the detail. I'm going to
   6 the van at some point?                                     B ask you, though, to listen to the question that I ask
   7     A Probably eventually, you know what I mean,           7 just so that we can get out of here sometime today.
   8 but I don't remember, you know what I mean, the            B    A I apologize.
  9 whole you know what I mean the whole situation, the         9    Q That's okay. You're being very helpful, and
  10 whole day. I know that other cops had come because        10 I appreciate that. I really do. But what I'm asking
  11 they took me to the ground, and I got down.               11 you is if you remember dealing with any other plain
  12         Other police officers were coming. One was        12 clothes officers. I believe you said no at the start
  13 coming from Philly into the parking lot I guess it        13 of your answer.
  14 was like you come in from Philly or you can come          14     A Yeah. lsaid no.
  15 through the back entrance.                                15     Q Okay. Which of the officers handcuffed you?
  16      Q When you say philly, you mean Philadelphia         16     A The one I told you that got out and quote,
  17 Street?                                                   17 unquote, chased me a little bit, you know what I
  18      A Philadelphia Street. Sorry about that.             18 mean? I stopped for him because he said he was an
  19      Q l'm not from the area.                             19 officer.
  20      A All right. Philadelphia Street.                    20     Q Okay.
  21      Q Okay.                                              21      A And then I told you I made a statement to
  22      A You can come in from Philadelphia Street.          22 him well, when did the police try to run you into a
  23 It was like an entrance. You can get in from there        23 wall and break your legs.
  24 or you can get in from the alleyway.                      24     Q Okay.
  25      Q Okay.                                              25     A You know what I mean? They usually get out


                                                          91                                                          93
   1     A You know what 1 mean?                               1 and say we're the police, freeze or something like
   2     Q I do know what you mean.                             2 that, you know what I mean, and people supposed to
   3     A All right. So there was officers coming             3 stop. Or if they run, then you know why they're
  4 from that way, too.                                        4 running.
   5     Q All right. From that point until you're put         5      Q Okay. I'm going to just say this so
   6 in a car and taken someplace else, did you have any        6 hopefully we can keep moving along here. The
   7 dealings with any plain clothes police officers,          7 question was which one of them handcuffed you?
   8 officers who were not in uniform?                          B     A The guy that got out and chased me,
   9            Ms. THOMPSON: l'm going to object to           9      Q That's what I need to know.
  10 the form of the question. Go ahead,                       10      A Yes.
  11 BY MR, BOYLE'                                             11      Q Okay. So the guy that got out and chased
  12      Q Do you understand what l'm asking?                 12 you is the one that handcuffed you. Were you injured
  13      A Yeah, You said did I have any contact with         13 as a result of being handcuffed?
  14 any other officers that didn'l have any police            14      A He just like pushed my head down a little
  15 clothes on basically. Just regular police clothes         15 bit. l got like a little -just like a little
  16 on. You're talking about regular clothes?                 16 abrasion on my inside, an abrasion to my upper lip.
  17      Q Right.                                             17 He ain't beat me up, you know what I mean, but he
  18      A All right. Those two were the only two that        18 rough handled me a little bit, you know what I mean?
  19 l seen at the time that got out, and, like l said,        19 Like get down, al! right, put the handcuffs on you.
  20 like one of them got out and chased me. The other         20 They searched me, you know what l mean? And I ain't
  21 one backed up, you know what l mean following his         21 have anything and boom.
  22 procedure, you know what l mean?                          22      Q You've been - you were arrested previously
  23         Once the guy told me why you running from         23 like four years before that l understand?
  24 the police, well, when did the police try to run you      24      A Four years before that?
  25 into the wall and break your legs. All right. Well,       25      Q l'm going off my notes. So if l have that


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  1 wrong, you were arrested before, is that fair to say94    1     Q   Okay.
  2     A For what do you mean?                               2     A About a couple days.
  3     Q You got arrested for narcotics in the past          3     Q l'm trying to find out the extent of any
  4 before this; right?                                       4 injury you received as a result of the actions of the
  5     A 2004.                                               5 police. Okay? Have you described -- now, strike
   6    Q That's where the four came from. Not four            6 that. Let's keep going.
   7 years, 2004 you got arrested. Were you handcuffed        7         Look at Paragraph 15. I'Il read it.
   8 then?                                                    8 Officer Gartrell acting alone or with YCDTF then
   9    A Yes, sir.                                           9 aggressively and with more force than necessary to
  10     Q Okay. Were you taken down to the ground or         10 gain Plaintiffs compliance grabbed Plaintiff,
  11 were you told to get on the ground then?                 11 handcuffed him to where it affected Plaintiffs
  12     A I was sitiing down with handcuffs on               12 circulation and accused Plaintiff saying that he was
  13 basically. l was already in custody basically.           13 about to sell drugs.
  14     Q You were in custody when you got arrested          14         is it safe to say or is it fair to say that
  15 for narcotics?                                           15 you don't know whether that was Officer Gartrell or
  16     A No. They put handcuffs on me Sat me down           16 some other officer?
  17 on a chair, and I m sitting there waiting They took      17     A They said it was Officer Gartrell. Then
  18 me out, put me in a car, and took me out to the          18 that's the one I stated that got out and had a little
  19 police station. Fingerprinted me. Told me what           19 tan lo him. He had like a tan to him like I said,
  20 their case was, so on and so forth. You are being        20     Q W hen you say they, you're looking at your
  21 charged with possession dah, dah, dah, something like    21 complaint?
  22 that, and then boom.                                     22     A Yes .
  23     Q Okay. On this occasion were you                    23    Q They being your lawyers who wrote this
  24 photographed? The occasion in our lawsuit.               24 complaint on your behalf. They say Officer Gartrell
  25     A Pictures taken of me')                             25 acting alone or with YCDTF. l'm asking you do you


                                                         95
   1      Q Yes.                                              1 know whether it was Officer Gartrell or somebody eI97
   2      A Yeah. l'm prelly sure.                            2 or some other police officer or don't you know?
  3       Q Did they take your fingerprints?                  3      A Beings I'm not too sure, you know what I
  4       A Yes.                                              4 mean, I couldn't say.
  5       Q Okay. Did you receive any treatment for the       5      Q You couldn't say.
   6 abrasion on your iip you described?                       6     A l'm not too sure
  7       A In this case here?                                 7     Q Okay. Would that be the same for everything
  8       Q Yes.                                               8 that's described in your complaint that refers to
   9      A     just went to the hospital, and then they       9 Officer Gartrell? You don't know whether it was
  10 sen! me to York County Prison. No.                       10 Officer Gartrell or some other officer?
  11      Q Okay. Did you tell anybody at York County         11           MS. THOMPSON: Objection to the form
  12 Prison that you needed treatment for the abrasion on     12 of the question. Go ahead .
  13 your lip?                                                13     A Well, these are the officers that were
  14       A No. I just drunk water actually.                 14 stated that did procedures to me. I don'i know.
  15      Q Okay. Did you need stitches?                      15 When I say I don't know them I don't know them in
  16       A No. ltwasn'tthat bad                             16 general as like I know my brothers, I know my
  17       Q Okay.                                            17 sisters, I know my cousins. These are people that I
  18       A Like it swelled up a little bit.                 1B actually know. Because I seen you one time doesn't
  19       Q Okay. How long before the swelling went          19 mean I know you.
  20 down?                                                    20 BY MR. BOYLE:
  21       A By the night.                                    21    Q Okay. But you didn't sue your brothers or
  22       Q By the night, okay. No scars as a result of      22 other people you know.
  23 it?                                                      23    A Yeah. That's people I know you. I know
  24       A There was a little. It's gone now Like a         24 you. Like I said, I know you. I said I know you, I
  25 little cut inside, but it's gone.                        25 know who you are.



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  1    Q       Okay.                                                    1 a second for a follow-up question, but why don't V100
   2   A       And if I seen you once, that's a difference.             2 go on and tell me specifically regarding Officer
   3    Q Are all your allegations, all the things                      3 Gartreil what else did Officer Gartrell do.
   4 that are said in this lawsuit, based on something you              4    A Besides roughing me up and asking me
   5 read In papewvork or were told by somebody else about              5 questions, put me In the car. Like I said, he took
   6 Officer Gartrell?                                                  6 me out to the car and put me In the seat. And I sat
   7             MS THOMPSON: Objection to the form                     7 there, and I waited And Ilks I said, they took me
   8 of the question. Go ahead.                                         8 down to the station on Philly.
  Q    A No, sir                                                        9    Q Who? Officer Gartrell drove?
  10 BY MR. BOYLE.                                                      10    A    No, He put me in the back of a police car.
  11    Q       Okay. Are they based on your own                        11    Q    Okay. l'm asking you about Officer
  12 independent recollection? Are they based on your                   12 Gartreli. W e can talk about the officers later, but
  13 memory of what happened specifically as regarding                  13 right now I want to know specifically what Officer
  14 Officer Gartrell?                                                  14 Gartrell did. You said he's the one who was on the
  15    A Yes, sir.                                                     15 passenger side, the tan five foot eight, five foot
  16    Q Okay. Please tell me in your own words                        16 nine thin officer who jumped out and handcuffed you
  17 everything that only Officer Gartrell did. l don't                 17 and put you in the car, and they took you down to
  18 want to know about Chief Bentzel, District Attorney                18 where the other officers said you had something in
  19 Sunday, or any other member of the Task Force. If                  19 your buttocks; right?
  20 you would please tell me what Officer Gartrell and                 20   A Yeah. He said well, you re moving around.
  21 only Officer Gartrell did in regards to your lawsuit.              21 We think you got something hid in your buttocks.
  22    A      Okay. Well, Officer Gartrell, as I stated,               22    Q Okay. Have you told me everything up to
  23 lumped out the van and chased me. He pulled me down                23 that point that Officer Gartrell did?
  24 lo the ground, and l said -- I was like I stopped                  24    A    Besides rough me up when l was there.
  25 running, you know what I mean? Pulled me down to the               25    Q    Okay. What do you mean by rough me up?


                                                                   99                                                         101
  1 ground. Put the handcuffs on me, you know what I                     1    A  Like push me down. Use a little force. I
  2 mean? Searched my pockets and everything.                           2 mean I gave myself up, He didn't have to use force.
   3          He takes me, walks me down the hill towards               3   Q What kind of force did he use that he didn't
  4 the alley we was at, and then a police car pulls up,                4 have to use?
  5 and he puts me in the back of that police car. So                   5    A Just pushed me down to the ground and took
   6 I'm sitting in the back of that police car waiting,                6 my arm, you know what l mean, you know what l mean?
   7 and eventually they take me down on Philadelphia                   7 Like I say, he pushed me down with a little force.
  8 Street -- excuse me -- to the building, and I was                   B That's where I got a Il111e abrasion on my lip.
  9 searched two more times,                                            9    Q Okay.
  10     Q      Who searched you those two more times?                  10    A    Yeah.
  11      A    These were other police officers that were               11    Q   Did you receive any other injuries besides
  12 already there.                                                     12 the abrasion on your Ilp from him roughing you up?
  13      Q Okay. Not Officer Gartrell, is that                      Just a little -- I mean lust pulling my arms
                                                                        13    A
  14 accurate? Is that right?                             14 back and handcuffing me, you know what I mean?
  15     A    Well, he's not the one that -- basically he 15 That's about it, yeah. Just a little roughing up
  16 wa red me »~ -rched right then and there. Another    16 whi H handcuffing me.
  17 officer that was there seen me moving, and he said I 17    Q Okay. He could have done it a little nicer,
  18 think you're hiding something in your buttocks.                    18 is that fair to say?
  19       Q Okay. So it was an officer other than                      19           MS. THOMPSON: Objection to the form
  20 Officer Gartrell who said I think you're hiding                    20 of the question. Go ahead.
  21 something in your buttocks?                                        21 BY MR. BOYLE:
  22       A     Basically.                                             22   Q Do you understand the question?
  23       Q     What do you mean basically?                            23   A Yes. l understand. 1 mean iflgive myself
  24       A     Yes, yes.                                              24 up, you don't have to use force. That's what l'm
  25       Q     Yes, okay. All right. We stopped there for 25 saying.


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   1     Q    Okay.                                                1     Q    At the police station?
   2     A I stopped running because he say he was the             2     A    Yes.
   3 police. I didn't know what the situation was.                 3     Q  All right. And that's when he asked you
   4     Q Do you know if Officer Gartrell ever                    4 about selling drugs?
   5 arrested you before?                                          5    A Mr, Jones, 1hey're saying that you were
   6     A    Not that I know of.                                  5 supposed to meet a such and such and such and such.
   7    Q Okay. And you said he asked you questions.               7 Vm like sir, I don't understand because I wasn't
   8 Was that out when he put the handcuffs on you he              8 meeting with anybody there. There was nobody back
   9 asked you questions or --                                     9 there, but me. And where is this quote, unquote,
  10     A    Do you have any drugs, contraband, dah, dah,         10 person that l'm supposed to be meeting. That's what
  11 dah, No, sir, I don't have anything on me. That's             11 I was maying to figure out.
  12 why I don't understand what this situation was about.         12    Q Okay. And that was all Officer Gartrell who
  13     Q       Okay.                                             13 did all that; right?
  14     A       I explained it.                                   14     A   He was questioning me, asking me questions.
  15     Q  Then they put you in a car and take you to    15   Q Okay. What's the new thing that Officer
  16 another spot where two other officers search you two 16 Gartrell did? Good, bad, or indifferent, what's the
  1 7 t imes ?                                                     17 next thing you remember that officer, Officer
  18     A   No. It was one officer. He searched me                18 Gartrell, doing?
  19 twice. He said I think you're hiding something In             19    A    Asking me questions and, you know what I
  20 your buttocks.                                                20 mean, is this you. I mean yes. All right. We got
  21     Q Okay. What's the next thing that Officer                21 to 011 your name. Sign your name here. I had to
  22 Gartrell -- have you told me everything Officer               22 sign my name on certain pieces of paper that verify
  23 Gartrell did up to that point?                                23 this was me and why they arrested me and so on and so
  24     A Officer Gartrell, him and the other off%cer             24 forth, you know what I mean? Do I pled guilty or not
  25 l guess that was in car, they took me out to the York         25 guilty. l'm not guilty because I didn't do anything,


                                                             103                                                         105
   1 Hospital.                                                     1 so you know what I mean?
   2     Q       Okay. We'II get there.                            2       I was supposed to be just talking to him.
   3     A       Okay.                                             3 Then when he left, it was another officer that was in
   4     Q       W e're at the point where you've been             4 there, and he seen me moving back like moving around.
   5 searched two times out on the street.                         5 He said it looks like you have something -- you don't
   6     A       Mm-hmm.                                           6 want me to talk about that, but he was -- after that
   7     Q       What's the next thing that Officer Gartrell       7 situation, he went out to the hospital with me.
   8 does?                                                         8     Q Okay. So you started telling me about the
  9    A    W ell, he waits until they verify that they            9 other officer came in and said he saw you moving
  10 want to take me to York Hospital.                             10 around?
  11    Q     That all happehed on the street?                     11     A   Yeah. He said you're moving too much, I
  12    A Oh, no. This was when they took me, I told               12 think you got something in your buttocks. And i'm
  13 you to the police station,                                    13 like why you say that. He said because you're moving
  14    Q Okay.                                                    14 too much.
  15      A      The first time.                           15     Q Was that the same officer who said that out
  16      Q       All right. The other .-                  is on the street or was it a different officer?
  17      A    Took me -                                   17     A No. That was a different officer in the
  18      Q    Let me ask the question. The other officers 18 building on Philadelphia Street.
  19   took you to the police station; right?              19     Q In the building on Philadelphia Street. And
  20      A Yeah, the officer he put me in the car took    20 that was not Officer Gartrell. Officer Gartrell had
  21    me to the police station.                          21 left the room at that point?
  22      Q Right. When is the next time you see           22     A Yes. He's the one that I said the two that
  23   Officer Gartreli?                                   23 were in the van took me to the -- what's the name?
  24     A He came in there. He started questioning me             24 To the York Hospital.
  25 at the police station .                                       25     Q    Okay. Did you already describe everything


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  1 that happened at the hospital?                            1 defender, it was a DA, and it was a guy that was
  2      A Yes, basically.                                     2 there with Ber, and like they said -- they were
  3      Q Okay. And nobody found drugs on you?               3 trying to show me pictures saying this is you,
  4      A Nobody.                                            4 Mr. Jones, selling drugs to a certain person. l'm
  5      Q Okay. In Paragraph 16 it says you denied           5 like well, hold on There's nobody over here where
  6 involvement. it says Plaintiff denied involvement in      6 you're stating at.
  7 drug sales and that he had drugs on his person. You        7          They said no, Mr. Jones, this is you right
  8 tell them -- what does it mean deny drug sales?            8 here selling drugs to a person. I said well, hold
  9 Denied drug sales on this occasion or denied ever          9 on, if l'm beside this car selling drugs, why would
  10 selling drugs?                                           10 my hat be outside the car.
  11           MS. THOMPSON: Objection to the form            11      Q Okay. It was Officer Gartrell who took you
  12 of the question .                                        12 to the hospital?
  13 BY MR. BOYLE:                                            13     A Yeah, Gartrell and there was another officer
  14      Q Did you understand the question?                  14 that was with him. Those were the ones that were in
  15      A l understood what you were saying.                15 van.
  16           MS. THOMPSON. lm not sure just                 16    Q The same two that were in the van took you
  17 understanding the question is the objection, but..       17 to the hospital; right?
  18           MR. BOYLE. It was to the form of the           18    A    Those are the same two that were in the van.
  19 question So it's whether the witness understands         19    Q    Okay. And they're the ones that were there
  20 the question because he's the one under oath             20 when you told the doctor that you can't have a CAT
  21           MS. THOMPSON- What paragraph are you           21 scan because of the plate in your head, is that
  22 referencing again?                                       22 correct?
  23           MR. BOYLE' Paragraph 16.                       23   A Yes. l'm sure.
  24           MS. THOMPSON: Okay.                            24   Q Yes, I'm sure, is that what you said?
  25           MR. BOYLE: You made your objection.            25   A Yes.


                                                       107                                                        109
   1 BY MR BOYLE:                                            1     Q Okay. I want you to think back to the
   2   Q Did you understand the question, sir?                2 instant before the van comes towards you.
   3   A Say that again. l'm sorry,                          3     A What you mean?
   4   Q Sure. It says Plaintiff denied involved in          4     Q I want you to picture in your head right
    5 drug series and that he had drugs on his person. Did 5 before the police came in that van. Was there
    6 you deny selling drugs on this occasion that's          6 anybody else out there but you?
    7 described in the complaint or did you deny ever         7    A Walking through the alleyway? (Shaking
    8 selling drugs?                                          8 head,)
    9    A Well I told them specifically that l wasn't        9    Q That's a no? Nobody in the alleyway?
   10 selling drugs in some kind of pictures they were       10     A Nuh»uh.
   $1 trying to show me.                                     11     Q Is that a no, sir?
   12     Q Okay.                                            12     A No, sir. There was nobody in the alleyway.
   13      A Yeah.                                           13     Q Okay. Who was the last person you had seen
   14     Q You described those pictures at your             14 before that van came up and where did you see them?
   15 first -- what I'm calling your first deposition when   15     A I seen my girlfriend.
   15 we met the first time. Were they the same pictures 16         Q Okay. Did you see anybody else out on the
   17 that you saw at court that they showed you here at 17 street when you left your girlfriend's?
   18 the police station?                                    18     A No.
   19      A Actually, they didn't bring them to court.      t9     Q So from the time you left your girlfriend
   20 We never had a chance to get in court because they     20 until the time the police came towards you with that
   21 kept -... how you saying -- prolonging the situation.  21 van, you hadn't seen another human being, is that
   22     Q Okay. So you never saw those pictures at         22 fair?
   23 court with the District Attorney?                      23     A I seen cars, but didn't see no human being
   24     A No, I seen them once, and that was like          24 coming towards me walking towards me or anything.
   25 when we were sitting in the -.. like l said, my public 25 Standing outside or anything, no.



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   1    Q     You saw cars, and obviously they weren't 110      1     A    Yes.
   2 driving themselves.                                       2             MR. BOYLE: I'm going to get copies of
   3      A Mm-hmm.                                            3 these documents, and I'm assuming they can do it
  4      Q Leave them out of it. Without the cars,             4 here, and then I believe I'm finished. Do you have
   5 anybody walking either toward you or away from you        5 anything else, Sean?
   6 from the time you left your girlfriend'$ house until      6             MR. SUMMERS; Let me think about it.
   7 that van came toward you?                                 7 I didn't think you would be done that quick.
   8      A No. The only person I seen was my                  8             (Recess taken from 12:16 p.m. until
   9 girlfriend like I said, My girlfriend, that's the         9 12:22 p.m.)
  10 last person I saw.                                        10             (Jones Deposition Exhibit 2 was marked
  11      Q All right. In Paragraph 26 you refer to a          11 for identification.)
  12 cavity search at the prison. Was Officer Gartrell         12             MR. SUMMERS: I don't have any further
  13 present for the cavity search at the prison?              13 questions, Mr. Jones.
  14      A No. That was another search that l had to          14             MR. BOYLE: I'm done.
  15 do because I was incarcerated for something I didn't      15             (The deposition was concluded at 12:22
  16 do.                                                       16 p,m,)
  17      Q All right. Did you get strip searched at           17
  18 the police station or just those two times out on the     18
  19 street?                                                   19
  20      A No. I got stripped once on the street,             20
  21 twice at the police station.                              21
  22      Q Once on the street, twice at the police            22
  23 station. But once on the street, you said that was        23
  24 the officers who came up in the car; correct?             24
  25      A In the van.                                        25



                                                         111                                                             113
   1     Q All right. The one time you got strip                l   COMMONWEALTH OF PENNSYLVANIA    )
                                                                                                    )    ss.
   2 searched on the street was the officer -                   2   COUNTY OF YORK                  )
   3     A No. I didn't say I got strip searched on             3
                                                                             I, Traey L. Lloyd, a Registered Professional
   4 the street. I said I got searched on the street. I         4   Reporter and Notary Public in and for the
                                                                    Commonwealth of Pennsylvania and County of York, do
   5 ain't say strip searched.                                 5    hereby certify that the foregoing testimony was taken
   6     Q Thank you. When you say searched on the                  before me at the time and place hereinbefore set
                                                                6   forth, and that it is the testimony of:
   7 street, you got patted down?                               7
   8     A Patted down.                                                                   ALonzo JONES
                                                                8
   9     Q Okay. Then you go back to the building on            9            I further certify that said witness was by me
                                                                    duly sworn to testify the whole and complete truth in
  10 Philadelphia Street?                                      1D   said cause; that the testimony then glven was
  11      A Yes.                                                    reported by me stereographically, and subsequently
                                                               II   transcribed under my direction and supervision; and
  12      Q Okay. And that's where you got strip                    that the foregoing is a full true and correct
  13 searched two times?                                       12   transcript of my original shorthand notes.
                                                               13            I further certify that I am not counsel for
  14      A Yes.                                                    nor related to any of the parties to the foregoing
                                                               14   cause, nor employed by them or their attorneys, and
  15      Q And that was by the officer who said he
                                                                    am not interested in the subject matter or outcome
  16 thinks you have something in your buttocks?               15   thereof.
                                                               16            Dated at York, Pennsylvania, this 28th day of
  17      A Yes.                                                    August, 2019,
  18      Q Okay. Where was Officer Gartrell when those        17
                                                               18
  19 two strip searches were taking place?                     19                        Tracy L. Lloyd
  20      A He wasn't right there in the room at the                                     Tracy L, Lloyd, Notary Public
                                                               20                        Registered Professional Reporter
  21 time, but he came down after the guy had did it and       21
                                                                    (The foregoing certification does not apply to any
  22 said I think he has it in his buttocks and you all        22   reproduction of the same by any means unless under
  23 need to take him to York Hospital.                             the direct control and/or supervision of the
                                                               23   certifying reporter.l
  24      Q Okay. That's when he, Officer Gartrell, and        24   My Commission explres;
  25 another officer took you to York Hospital?                     April 21 2023
                                                               25



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